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                EXHIBIT 1
                                                                      Candice Adams
                                                                      e-filed in the 18th Judicial Circuit Court
    Case: 1:24-cv-03595 Document #: 1-1 Filed: 05/03/24 Page 2 of 140 DuPage
                                                                      PageID        #:6
                                                                                County
                                                                      ENVELOPE: 26984555
                                                                      2024LA000410
                                                                      FILEDATE: 4/3/2024 10:34 AM
                                                                      Date Submitted: 4/3/2024 10:34 AM
                                                                      Date Accepted: 4/3/2024 11:44 AM
      IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT PF
                               DUPAGE COUNTY, ILLINOIS

DUPAGE GRAUE MILL CORPORATION,    )
                                  )
         Plaintiff,               )                                           2024LA000410
                                  )
v.                                )                        Case No. 2024 _______________
                                  )
UNITED STATES LIABILITY INSURANCE )                        JURY TRIAL DEMANDED
COMPANY,                          )
                                  )
         Defendant.               )

               COMPLAINT FOR DECLARATORY AND OTHER RELIEF

       Plaintiff, DuPage Graue Mill Corporation, an Illinois not-for-profit corporation

(“DGMC”), for its Complaint for Declaratory and other Relief against Defendant United States

Liability Insurance Company (“Insurer”), states:

                                    NATURE OF THE ACTION

       1.      This is an insurance coverage case brought by DGMC against Insurer based on

Insurer withholding monies due and owing to DGMC as reimbursement for the necessary and

reasonable costs incurred by DGMC to defend itself against claims covered under a purchased

insurance policy. Despite repeated effort by DGMC to obtain reimbursement over an extended

period of time, Insurer has refused to reimburse DGMC and deprived DGMC of the purchased

coverage without reason and in bad faith. Worse yet, the Insurer initially appointed counsel for

DGMC that for 2 ½ months represented DGMC while failing to disclose its conflicts-of-interest,

causing DGMC to incur extensive legal fees and potentially other harm.

       2.      DGMC seeks damages to remedy Insurer’s contractual breaches, vexatious

conduct, wilful and wanton misconduct, and unfair and bad faith practices.
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                                             PARTIES

       3.      DGMC is an Illinois not-for-profit corporation that does business in Oak Brook,

DuPage County, Illinois.

       4.      Through December 31, 2022, DGMC operated a restored nineteenth century

gristmill on property licensed from the Forest Preserve District of DuPage County in Oak Brook,

Illinois (“Graue Mill”). Since December 31, 2022, DGMC has continued its mission of educating

and exhibiting to the public about the vast history of the Fullersburg (Oak Brook/Hinsdale) area,

which extensively includes the Underground Railroad.

       5.      On information and belief, Insurer is an insurance company organized under the

laws of Nebraska with its principal place of business at 1190 Devon Park Dr., Wayne,

Pennsylvania, 19087.

       6.      On information and belief, Insurer is licensed to and does conduct business in the

state of Illinois, including business within DuPage County.

       7.      On information and belief, Insurer is part of Berkshire Hathaway, marketing itself

as the best insurance company to underwrite insurance for small businesses and identifying its

focus on the following values: caring, attitude, respect, empathy, and energy.

                                    JURISDICTION AND VENUE

       8.      This Court has personal jurisdiction over Insurer as Insurer: (a) transactions

business in Illinois pursuant to 735 ILCS 5/2-209(a)(1); (b) has committed the tortious acts alleged

herein within Illinois pursuant to 735 ILCS 5/2-209(a)(2); (c) as alleged herein, contracted to

provide insurance to DGMC, which was located within Illinois at the time of contracting pursuant

to 735 ILCS 5/2-209(a)(4); and (5) similarly, as alleged herein, has made and performed a contract

substantially connected with Illinois pursuant to 735 ILCS 5/2-209(a)(7).



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           9.    Venue is proper pursuant to 735 ILCS 5/2-101 as at least some part of the

transactions out of which this lawsuit arises occurred in DuPage County, and, alternatively,

because Insurer is a nonresident of Illinois.

                                                  FACTS

                                                The Policy

           10.   During all times relevant to its claims, DGMC maintained certain liability insurance

coverages through Insurer and more specifically, non-profit management liability coverage.

           11.   DGMC      issued   a   non-profit       management   liability   policy,   numbered

NDO1052450Q, to DGMC (the “Policy”).

           12.   DGMC purchased the Policy from Insurer by paying the premium charged by

Insurer.

           13.   A true and accurate copy of the Policy is attached hereto as Exhibit 1 and

incorporated by reference as if set forth fully herein.

           14.   DGMC is the “Named Insured” and the “Parent Organization” under the Policy.

Ex. 1, Policy Declarations.

           15.   The period of the Policy is May 2, 2022 to May 2, 2023. Ex. 1, Policy Declarations,

Item II.

           16.   The Policy provides limits of $1,000,000 each claim and $1,000,000 in the

aggregate under the Non Profit Directors and Officers Liability Coverage Part. Ex. 1, Policy

Declarations, Item III.

           17.   The Policy identifies the insured(s) retention as $0 each claim under the Non Profit

Directors and Officers Liability Coverage Part. Ex. 1, Policy Declarations, Item IV.




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       18.     The Directors and Officers Coverage Part of the Policy contains an insuring clause

for Organization Coverage that states as follows:

       The Company will pay, on behalf of the Organization, Loss and Defense Costs
       resulting from a Claim first made against the Organization during the Policy
       Period, or the Extended Reporting Period, if applicable.

Ex. 1, D&O Part, I.C.

       19.     The Policy defines Claim, in part, to mean any of the following:

       1. Written demand for monetary damages or non-monetary relief, including
          injunctive relief;
       2. Civil proceeding commenced by service of a complaint or similar pleading;
       3. Criminal proceeding commenced by the return of an indictment;
       4. Administrative or regulatory proceeding commenced by the filing of a formal
          written notice of charges, notice of violations, notice of investigation, cease and
          desist or similar action;
       5. Arbitration, mediation or other alternative dispute resolution proceeding in
          which the Insured is obligated to participate if the Insured agrees to participate
          with the Company’s prior written consent; or
       6. Other proceeding initiated before any governmental body which is authorized
          to render an enforceable judgment, order for monetary damages or other relief;

       Received by, or brought or initiated against any Insured alleging a
       Wrongful Act, including any appeal therefrom.

Ex. 1, D&O Part, III.

       20.     The Policy defines Wrongful Act broadly to mean any: “actual or alleged act, error,

omission, misstatement, misleading statement, neglect, or breach of duties; Personal Injury

Wrongful Act; Publisher Wrongful Act; or Employed Attorney Services” committed or

allegedly committed by the Organization. Ex. 1, D&O Part, III.

       21.     The Policy defines Organization to mean, among other things, the Named

Insured and any Subsidiary. Ex. 1, General Terms and Conditions, I.

       22.     The Policy states that Insurer “shall have the right and duty to defend any Claim

covered by the Policy even if the allegations are groundless, false or fraudulent.” It further states



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that Insurer shall have the right to appoint counsel of its choice with respect to such Claim. Ex. 1,

General Terms and Conditions, II.

       23.     The Policy states that if a Claim against an Insured is for both Loss that is covered

by the Policy and loss that is not covered by the Policy, Insurer will pay 100% of Defense Costs

on account of such Claim. Ex. 1, General Terms and Conditions, II.

                                             The Claims

       24.     DGMC operated and maintained the Graue Mill property, or parts of it, since the

1950’s pursuant to a number of agreements, the last of which expired on December 31, 2022.

       25.     Disputes arose between DGMC and Forest Preserve District upon the termination

of their 70-year relationship when the Forest Preserve District barred DGMC from reentering the

property and involved authorities.

       26.     On or about January 20, 2023, DGMC received a grand jury subpoena that was

initiated by the Forest Preserve District, likely to buttress their impending civil suit that was filed

days later as alleged below.

       27.     A true and accurate copy of the grand jury subpoena is attached as Exhibit 2 hereto

and incorporated by reference as if set forth fully hereon.

       28.     The grand jury subpoena is a “Claim” under the Policy.

       29.     On or about February 1, 2023, Forest Preserve District initiated a civil suit against

DGMC.

       30.     A true and accurate copy of the civil lawsuit is attached as Exhibit 3 hereto and

incorporated by reference as if set forth fully hereon.

       31.     The civil suit against DGMC is a “Claim” under the Policy.




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        32.     DGMC required immediate legal representation and retained Thompson Coburn

LLP to protect its interests.

        33.     DGMC incurred and paid necessary and reasonable legal fees charged by

Thompson Coburn LLP to defend DGMC.

        34.     Among other things, Thompson Coburn LLP, on behalf of DGMC, analyzed

DGMC’s rights and responsibilities, opened discussions with Forest Preserve District’s counsel to

deescalate the disputes and to attempt to come to a reasonable resolution, worked to determine the

property in dispute and ensure its safety pending resolution, secured and gathered documentation

sought by Forest Preserve District, assessed the best response to the claims made, secured a joint

representation agreement with a co-defendant, and dealt with FOIA requests. For ease of reference,

legal work performed by Thompson Coburn LLP prior to February 10, 2023 is referred to as “Pre-

Tender Defense Costs.”

        35.     DGMC timely provided notice to Insurer of the grand jury subpoena and civil suit

on or about February 10, 2023, tendering both and seeking all coverages available under the Policy.

        36.     Insurer suffered no prejudice as a result of Thompson Coburn LLP’s work reflected

in the Pre-Tender Defense Cost, instead benefitting greatly from such legal services.

                                    Insurer’s Claims Handling

        37.     Thompson Coburn LLP provided additional reasonable and necessary legal work

to defend DGMC while awaiting a coverage decision from Insurer.

        38.     On or about February 15, 2023, Insurer refused DGMC’s request to allow

Thompson Coburn LLP to act DGMC’s going forward defense counsel with respect to the civil

suit by Forest Preserve District.




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        39.    On or about February 15, 2023, Insurer appointed the law firm of Downey &

Lenkov (“Insurer’s Conflicted Appointed Counsel”) as defense counsel for DGMC in the civil

suit.

        40.    Insurer’s appointment of Insurer’s Conflicted Appointed Counsel as defense

counsel for DGMC did not provide DGMC with appropriate defense counsel as Insurer’s

Conflicted Appointed Counsel proved conflicted, but DGMC was unaware of the conflict at the

time of appointment.

        41.    Insurer refused to provide coverage, including defense counsel, to DGMC with

respect to the grand jury subpoena.

        42.    In the absence of appointed counsel by the Insurer, Thompson Coburn LLP

assumed the defense of the DGMC as to the grand jury proceedings, including the grand jury

subpoena.

        43.    Upon appointment of Insurer’s Conflicted Appointed Counsel, DGMC and

Thompson Coburn LLP sought to transition the defense to Insurer’s Conflicted Appointed

Counsel, but Insurer’s Conflicted Appointed Counsel failed to take control of the defense requiring

Thompson Coburn LLP’s continued work to defend DGMC. It was not until April 27, 2023, when

Insurer’s Conflicted Appointed Counsel finally disclosed its conflict to DGMC that DGMC

realized that perhaps counsel was not taking a lead role in defending DGMC because of counsel’s

undisclosed conflict.

        44.    DGMC, through its counsel Thompson Coburn LLP, made repeated efforts in

writing and through telephone call to the Insurer to obtain reimbursement to DGMC for defense

costs paid for Pre-Tender Defense Costs, Thompson Coburn LLP’s costs to defend the civil suit

as it sought to transition work to Insurer’s Conflicted Appointed Counsel and necessitated as



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Insurer’s Conflicted Appointed Counsel failed to take an active role in defense of the civil suit,

and to respond to the grand jury subpoena. For ease of reference, defense costs billed by Thompson

Coburn LLP for the civil suit after February 10, 2023 are referred to as “Post-Tender Defense

Costs.”

          45.    During communications with Insurer, Insurer agreed to pay Post-Tender Defense

Costs, but refused to commit to paying Pre-Tender Defense Costs or costs to respond to the grand

jury subpoena.

          46.    On or about April 27, 2023, Insurer’s Conflicted Appointed Counsel advised

DGMC that it was withdrawing from the civil suit due to a conflict of interest not previously

disclosed to DGMC.

          47.    After Thompson Coburn LLP filed a motion to quash the grand jury subpoena, the

DuPage County State’s Attorney withdrew the subpoena and terminated the matter on May 23,

2023.

          48.    Following Insurer’s Conflicted Appointed Counsel’s withdrawal from the civil suit,

Insurer appointed a new insurance defense firm to defend DGMC.

          49.    Despite the appointment of a new defense counsel, Thompson Coburn LLP was

forced to remain involved to protect DGMC’s interest in the civil suit as the defense provided by

Insurer required some period of time for transition and due to unfamiliarity with the dispute.

          50.    DGMC provided all invoicing to Insurer for Pre-Tender and Post-Tender Defense

Costs, repeatedly seeking that Insurer reimburse such costs.

          51.    The subpoena is a “Claim” made during the period of the Policy, triggering the

insuring agreement for Organization Coverage under the Directors and Officers Coverage Part of

the Policy.



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       52.     The civil suit is a “Claim” made during the period of the Policy, triggering the

insuring agreement for Organization Coverage under the Directors and Officers Coverage Part of

the Policy.

       53.     To properly satisfy its defense obligations for “Claims” under the Policy, Insurer is

required to provide a competent attorney that is free of conflict and able to adequately protect

DGMC’s interests.

       54.     While DGMC provided prompt notice of the “Claims” to insurer, it necessarily

incurred Pre-Tender Defense Costs that prove reasonable and did not prejudice Insurer, but instead

benefitted Insurer.

       55.     Due to the appointment of defense counsel in the civil suit that proved conflicted,

failed to assume active responsibility in DGMC’s defense, or required additional time to

familiarize themselves with the legal and factual disputes, DGMC necessarily incurred Post-

Tender Defense Costs that prove reasonable and did not prejudice Insurer, but instead benefitted

Insurer.

       56.     DGMC additionally incurred reasonable and necessary costs to defend against the

grand jury subpoena that ultimately led to the termination of the grand jury proceeding directed at

DGMC.

       57.     Further, on or about August 10, 2023, DGMC learned of yet another legal matter

that was initiated by the Forest Preserve District against DGMC, namely an inquiry from the

Illinois Attorney General’s Office that significantly overlapped with the civil lawsuit. A true and

correct copy of the Illinois Attorney General inquiry is attached as Exhibit 4.




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        58.       DGMC immediately made a claim to the Insurer, on August 10, 2023, upon

learning of the Illinois Attorney General inquiry. The Insurer, however, has yet to provide a

coverage decision as to this claim.

        59.       The Illinois Attorney General inquiry is a “Claim” under the Policy.

        60.       DGMC total incurred defense costs are at least $115,000 for Pre-Tender Defense

Costs, Post-Tender Defense Costs, costs relating to defense of the grand jury proceedings, and

costs related to the Illinois Attorney General inquiry.

        61.       DGMC has demanded that Insurer reimburse its Pre-Tender Defense Costs, Post-

Tender Defense Costs, and fees associated with defending the grand jury proceedings, but Insurer

has failed to pay any amounts. DGMC has demanded that the Insurer cover the Claim attendant to

the Illinois Attorney General inquiry.

        62.       DGMC has fully complied with all conditions of the Policies or they are otherwise

futile, unenforceable, or waived through Insurer’s actions and inactions.

                                          COUNT I
                                    (BREACH OF CONTRACT)

        63.       DGMC re-alleges and incorporates by reference paragraphs 1 through 62.

        64.       DGMC purchased the Policy for valuable consideration, by means of premium paid

to Insurer.

        65.       The Policy is a contract of insurance that is valid and enforceable against Insurer in

accordance with its terms.

        66.       Pursuant to the Policy, the grand jury subpoena qualified as a “Claim” satisfying

the insuring agreement in the Policy for Organization Coverage under the Directors and Officers

Liability Part.




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       67.     Pursuant to the Policy, the civil suit qualified as a “Claim” satisfying the insuring

agreement in the Policy for Organization Coverage under the Directors and Officers Liability Part.

       68.     Pursuant to the Policy, the Illinois Attorney general inquiry qualified as a “Claim”

satisfying the insuring agreement in the Policy for Organization Coverage under the Directors and

Officers Liability Part.

       69.     Insurer improperly denied coverage for defense costs to respond to the grand jury

proceedings.

       70.     While now resolved, DGMC incurred defense costs responding to the grand jury

proceedings that Insurer should have covered under the Policy but for Insurer’s improper denial.

       71.     DGMC incurred Pre-Tender Defense Costs that benefitted the defense of the civil

suit and caused no prejudice to Insurer that Insurer should have reimbursed under the Policy.

       72.     DGMC incurred Post-Tender Defense Costs while waiting on Insurer’s coverage

position for the civil suit, due to conflict of interest of the first appointed counsel and/or such

counsel’s inability to assume responsibility for the defense of the civil suit, and due to transition

time required by the second appointed counsel.

       73.     Insurer has repeatedly stated that it agrees to pay Post-Tender Defense Costs, which

should be covered under the Policy, but has failed to do so despite repeated request.

       74.     Insurer has failed to even respond, as of the filing of this lawsuit, with a coverage

decision as to the Illinois Attorney General inquiry “Claim.”

       75.     Insurer failed and refused to honor its obligations to DGMC for said claims and in

denying coverage and in denying coverage for the grand jury proceedings, refusing to defend or

reimburse defense for the civil suit, and refusing to cover the Illinois Attorney General inquiry, all

in contravention of the terms and conditions of the Policy.



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         76.    Insurer’s actions and inactions with respect to DGMC are in breach of the Policy.

         77.    As a result of Insurer’s breaches of its contractual obligations under the Policy,

DGMC has been damaged in a sum of at least $115,000, plus pre-judgment interest for such

liquidated sums, attorneys’ fees and costs incurred in this action, all to be proven at the time of

trial.

         For relief, DGMC respectfully requests that this Honorable Court enter judgment in its

favor and against Insurer in the amount of at least $115,000, plus pre-judgment and post-judgment

interest, costs, and reasonable attorneys’ fees incurred herein, and such additional relief as is

appropriate.

                                      COUNT II
                            (VEXATIOUS REFUSAL/BAD FAITH)

         78.    DGMC re-alleges and incorporates by reference paragraphs 1 through 77.

         79.    Insurer owed certain duties to DGMC.

         80.    Insurer’s duties included, but were not limited to:

                a.     an obligation to provide coverage unless Insurer had a good-faith belief

based on its investigation or other available information that no coverage existed under the Policy;

                b.     an obligation to conduct any necessary investigation into coverage and/or

the facts surrounding coverage with ordinary and/or reasonable care and advise DGMC of

Insurer’s position on coverage under all relevant provisions in the Policies; and

                c.     an obligation to pay qualified and competent counsel, free of conflicts of

interest, to defend DGMC;

                d.     an obligation to make reimbursement payments on amounts reasonably and

necessarily incurred by DGMC to defend itself reflected in Pre-Tender Defense Costs and Post-

Tender Defense Costs; and


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                e. an obligation to make reimbursement payments on Post-Tender Defense Costs

that DGMC repeatedly recognized and admitted it had an obligation to satisfy.

                f. an obligation to timely respond with its coverage position to the Illinois

Attorney General inquiry.

       81.     Insurer knew at all relevant times that the Claims against DGMC are covered under

the Policy and that Insurer has an obligation to satisfy DGMC’s reimbursement requests under the

Policy and otherwise provide coverage for the claims under the Policy.

       82.     At all material times and in doing the acts alleged herein, Insurer knew or should

have known that the terms and conditions of the Policies required Insurer to pay DGMC reimburse

of the defense costs incurred by DGMC, including the Pre-Tender Defense Costs, Post-Tender

Defense Costs, defense costs to respond to the grand jury proceedings, and defense costs relating

to the Illinois Attorney General inquiry.

       83.     Acting oppressively, outrageously, and in bad faith towards DGMC, and in

conscious disregard for the law and DGMC’s known rights and with the intention of wrongfully

interfering with DGMC’s prospective economic advantage and property interest in the benefits of

the Policy, and of intentionally causing, or willfully disregarding the probability of causing, unjust

hardship to the non-profit DGMC, Insurer failed to pay such sums by improperly denying coverage

for the grand jury proceedings, failing to recognize DGMC’s policy rights, failing to make

promised reimbursement payments of Post-Tender Defense Costs, refusing to pay Pre-Tender

Defense Costs, refusing to cover the Illinois Attorney General inquiry, and failing to otherwise act

in good faith. Insurer compounded its mistreatment of DGMC when it stood resolute in its

positions despite identification of Insurer’s failures, ignored numerous communications from

DGMC, and failed to follow through on promises it made to reimburse DGMC.



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       84.     Insurer, through its foregoing actions and inactions, breached its duties, including

its implied duties under the Policy, owed to DGMC.

       85.     Insurer, through its foregoing actions and inactions, was and is in violation of the

terms, provisions, and intent of the Policy and was and is acting vexatiously and without reasonable

cause or excuse.

       86.     As a direct and proximate result of Insurer’s failure to exercise ordinary and/or

reasonable care, Insurer’s bad-faith, and breach of the implied covenant of good faith and fair

dealing, DGMC has been damaged in an amount to be proven at trial.

       87.     Insurer’s actions were intentional, willful, wanton, reckless, or with conscious

disregard for DGMC’s welfare.

       88.     As a result, DGMC is further entitled to an award of its costs and fees in pursuing

coverage, such statutory penalty as may be awarded under applicable law for vexatious refusal

under 215 ILCS 5/155, and/or punitive damages in an amount according to proof at trial necessary

to punish Insurer and deter such conduct.

       For relief, DGMC respectfully requests that this Honorable Court enter judgment in its

favor and against Insurer in an amount to be proven at trial, but no less than $115,000 in

compensatory damages, plus pre-judgment interest, post-judgment interest, attorneys’ fees and

costs incurred herein, statutory penalties and/or punitive damages sufficient to punish and deter,

and such additional relief as is appropriate.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands trial by jury of any and all issues properly triable by a jury.




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                                   Respectfully submitted,



                                   By /s/ Caroline Pritikin
                                      Robert H. Lang
                                      Matthew S. Darrough
                                      Caroline Pritikin
                                      Thompson Coburn LLP
                                      55 E. Monroe St., 37th Floor
                                      Chicago, Illinois 60603
                                      312-346-7500
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                                      Firm No. 14100

                                       Attorneys for Plaintiff




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                                                                     Candice Adams
                                                                     e-filed in the 18th Judicial Circuit Court
  Case: 1:24-cv-03595 Document #: 1-1 Filed: 05/03/24 Page 17 of 140 DuPage
                                                                     PageID        #:21
                                                                               County
                                                                     ENVELOPE: 26984555
                                                                     2024LA000410
                                                                     FILEDATE: 4/3/2024 10:34 AM
                                                                     Date Submitted: 4/3/2024 10:34 AM
                                                                     Date Accepted: 4/3/2024 11:44 AM
     IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUITPF
                                DUPAGE COUNTY, ILLINOIS

DUPAGE GRAUE MILL CORPORATION,    )
                                  )
         Plaintiff,               )
                                  )                                                2024LA000410
v.                                )                         Case No. 2024 _______________
                                  )
UNITED STATES LIABILITY INSURANCE )                         JURY TRIAL DEMANDED
COMPANY,                          )
                                  )
         Defendant.               )

                                           AFFIDAVIT

       I, Caroline Pritikin, hereby certify pursuant to Section 5/1-109 of the Illinois Code of Civil

Procedure as follows:

       This affidavit is made pursuant to Illinois Supreme Court Rule 222(b). The undersigned

certifies that the total of money damages sought in Plaintiff DuPage Graue Mill Corporation’s

Complaint against Defendant United States Liability Insurance, exceeds $50,000.

       Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil

Procedure, the undersigned certifies that the statements set forth in this instrument are true and

correct, except as to matters therein stated to be on information and belief and as to such matters

the undersigned certifies as aforesaid that she verily believes the same to be true.



Date: April 3, 2024
                                      Caroline Pritikin
                                      Counsel for DuPage Graue Mill Corporation
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                      EXHIBIT 1
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    NDO1052450P                                                                       Home Office Copy
   Renewal of Number
                               United States Liability Insurance Company                                        Direct Bill Policy
                                      1190 Devon Park Drive, Wayne, Pennsylvania 19087
POLICY DECLARATIONS              A Member Company of United States Liability Insurance Group
No. NDO1052450Q

NAMED INSURED AND ADDRESS:
DUPAGE GRAUE MILL CORPORATION
3800 SOUTH YORK ROAD
OAK BROOK, IL 60523




POLICY PERIOD: (MO. DAY YR.) From: 05/02/2022 To: 05/02/2023                                12:01 A.M. STANDARD TIME AT YOUR
                                                                                              MAILING ADDRESS SHOWN ABOVE


BUSINESS DESCRIPTION: Non-Profit Directors and Officers
           IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
                          WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.



                                                                                          PREMIUM
           Non Profit Management Liability Coverage Parts                                   $886.00



                                                     Wholesaler Broker Fee                    $50.00
                                                     TOTAL:                                  $936.00




Coverage Form(s) and Endorsement(s) made a part of this policy at time of issue
                                               See Endorsement EOD (1/95)
 Agent:     RPS MAVON (1221)                                                        Issued: 04/05/2022 9:40 AM
            10 West Chicago Avenue
            Hinsdale, IL 60521-3499

 Broker:    Mavco Insurance Agency
            10 West Chicago Avenue                                            By:
                                                                                            Authorized Representative
            Hinsdale, IL 60521
                    THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS,
                    COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF,
   UPD (08-07) COMPLETE THE ABOVE NUMBERED POLICY.
           Case: 1:24-cv-03595 Document #: 1-1 Filed: 05/03/24 Page 20 of 140 PageID #:24
                                 EXTENSION OF DECLARATIONS

Policy No. NDO1052450Q                                                     Effective Date:   05/02/2022
                                                                           12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS

FORMS AND ENDORSEMENTS


     The following forms apply to the Management Liability coverage part
     Endt#               Revised                    Description of Endorsements

     DO-100              05/17               Directors and Officers Coverage Part
     DO-101              05/17               Employment Practices Coverage Part
     DO-283              11/17               Data and Security Plus Endorsement
     DO-290              05/17               Fair Labor Standards Act Endorsement - Defense Costs and Indemnity
                                             Coverage
     DO-298              05/17               Amendment of Prior or Pending Litigation Exclusion
     DO-GTC              05/17               General Terms and Conditions
     DO-IL               03/18               Illinois State Amendatory Endorsement
     Jacket              07/19               Policy Jacket




   EOD (01/95)                          All other terms and conditions remain unchanged.                  Page   1   of   1
           Case:
             NON 1:24-cv-03595 Document #:
                   PROFIT MANAGEMENT       1-1 Filed:COVERAGE
                                        LIABILITY     05/03/24 Page
                                                                PART21DECLARATIONS
                                                                       of 140 PageID #:25


PLEASE READ YOUR POLICY CAREFULLY.
THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No. NDO1052450Q                                                        Effective Date: 05/02/2022
                                                                                          12:01 AM STANDARD TIME

  ITEM I. PARENT ORGANIZATION AND PRINCIPAL ADDRESS
      DUPAGE GRAUE MILL CORPORATION
      3800 SOUTH YORK ROAD
      OAK BROOK, IL 60523




  ITEM II. POLICY PERIOD: (MM/DD/YYYY) From: 05/02/2022 To: 05/02/2023

  Non Profit Directors and Officers Liability Coverage Part
      ITEM III. LIMITS OF LIABILITY
             a. Non Profit Directors & Officers   $1,000,000         EACH CLAIM
             b. Non Profit Directors & Officers   $1,000,000         IN THE AGGREGATE




      ITEM IV. RETENTION:                         $0                 EACH CLAIM
      ITEM V. PREMIUM:                            $698
      RETROACTIVE DATE:                           Full Prior Acts
      PRIOR OR PENDING LITIGATION                 See form DO-298

  Employment Practices Liability Coverage Part
       ITEM III. LIMITS OF LIABILITY
              a. Employment Practices              $1,000,000        EACH CLAIM
             b. Employment Practices               $1,000,000        IN THE AGGREGATE
       ITEM IV. RETENTION:                         $0                EACH CLAIM
       ITEM V. PREMIUM:                            $188
       RETROACTIVE DATE:                           Full Prior Acts
       PRIOR OR PENDING LITIGATION                 See form DO-298




  THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

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           Case:
             NON 1:24-cv-03595 Document #:
                   PROFIT MANAGEMENT       1-1 Filed:COVERAGE
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PLEASE READ YOUR POLICY CAREFULLY.
THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.




    No. NDO1052450Q                                                           Effective Date: 05/02/2022
                                                                                              12:01 AM STANDARD TIME

  Fiduciary Liability Coverage Part
       ITEM III. LIMITS OF LIABILITY
              a. Fiduciary Liability              NOT COVERED


       ITEM IV. RETENTION:                        NOT COVERED
       ITEM V. PREMIUM:                           NOT COVERED




       ITEM VI. Coverage Form(s)/Part(s) and Endorsement(s) made a part of this policy at time of issue:
            See Endorsement EOD (01/95)




  THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

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      Non-Profit Management Liability Policy                    Directors and Officers Coverage Part

      In consideration of payment of the premium and subject to the Policy Declarations, General
      Terms and Conditions, and the limitations, conditions, provisions and all other terms of this
      Coverage Part, the Company and the Insureds agree as follows:

      Words that are in bold have special meaning and are defined in Section III. DEFINITIONS of
      this Coverage Part, or in Section I. DEFINITIONS of the General Terms and Conditions,
      incorporated in or attached to this Coverage Part, as applicable.
      ______________________________________________________________________________
I.    INSURING AGREEMENTS

      A. Individual Insured – Non-           The Company will pay, on behalf of an Individual
         Indemnified Coverage                Insured, Loss and Defense Costs resulting from a
                                             Claim first made against an Individual Insured during
                                             the Policy Period, or Extended Reporting Period, if
                                             applicable, to the extent such Individual Insured is not
                                             indemnified by the Organization for such Loss and
                                             Defense Costs.

      B. Individual Insured –                The Company will pay, on behalf of the Organization,
         Indemnified Coverage                Loss and Defense Costs resulting from a Claim first
                                             made against an Individual Insured during the Policy
                                             Period, or Extended Reporting Period, if applicable, but
                                             only to the extent the Organization indemnifies such
                                             Individual Insured for such Loss and Defense Costs as
                                             permitted or required by law.

      C. Organization Coverage       The Company will pay, on behalf of the Organization,
                                     Loss and Defense Costs resulting from a Claim first
                                     made against the Organization during the Policy
                                     Period, or the Extended Reporting Period, if applicable.
      ______________________________________________________________________________
II.   INDIVIDUAL INSURED – NON-INDEMNIFIED COVERAGE ADDITIONAL LIMIT

      “Dedicated Limit – Insuring            The Company shall pay an additional limit of liability,
      Agreement A”                           not to exceed an aggregate of $1,000,000 per Policy
                                             Period, solely for Loss covered under Section I.
                                             INSURING AGREEMENT, Subsection A. Individual
                                             Insured Non-Indemnified Coverage. This additional
                                             limit of liability shall be paid only after the applicable
                                             Limit of Liability for Individual Insured – Non-
                                             Indemnified Coverage of the Directors & Officers
                                             Liability Coverage Part shown in the Policy
                                             Declarations is completely exhausted by payment of
                                             Loss.


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       ______________________________________________________________________________
III.   DEFINITIONS

       Claim                           means any:

                                           1. written demand for monetary damages or non-
                                              monetary relief, including injunctive relief;
                                           2. civil proceeding commenced by service of a
                                              complaint or similar pleading;
                                           3. criminal proceeding commenced by the return of
                                              an indictment;
                                           4. administrative or regulatory proceeding
                                              commenced by the filing of a formal written
                                              notice of charges, notice of violations, notice of
                                              investigation, cease and desist or similar action;
                                           5. arbitration, mediation or other alternative dispute
                                              resolution proceeding in which the Insured is
                                              obligated to participate if the Insured agrees to
                                              participate with the Company’s prior written
                                              consent; or
                                           6. other proceeding initiated before any
                                              governmental body which is authorized to render
                                              an enforceable judgment, order for monetary
                                              damages or other relief;

                                                received by, or brought or initiated against any
                                                Insured alleging a Wrongful Act, including any
                                                appeal therefrom.

                                                Claim also means any:

                                           7. written request, first received by an Insured to
                                              toll or waive a statute of limitations relating to a
                                              potential Claim as described in subparagraphs 1.
                                              through 6. above.

                                       A Claim shall be deemed made on the earliest of the
                                       date of service upon, or receipt by, any Insured of a
                                       potential Claim as described in subparagraphs 1.
                                       through 7. above.

       Defense Costs                   means:

                                           1. reasonable and necessary legal fees and expenses
                                              incurred by the Company, or by any attorney
                                              designated by the Company to defend the
                                              Insured; and


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                                    2. all other fees, costs, costs of attachment or
                                       similar bonds (without any obligation on the
                                       Company’s part to apply for or furnish such
                                       bonds);

                                    resulting from the investigation, adjustment, defense
                                    and appeal of a Claim. Defense Costs does not
                                    include Loss or the Insured’s salaries, wages,
                                    overhead or benefits expenses.


Employed Attorney Services      means legal services provided by any Individual
                                Insured, but only to the extent that such services are
                                performed directly to the Organization and in the
                                Individual Insured’s capacity as an Employee of the
                                Organization.

                                Any services rendered by an Individual Insured for any
                                party other than the Organization shall not constitute
                                Employed Attorney Services.

Employee                        means any natural person whose labor or service is
                                engaged and directed by the Organization while
                                performing duties related to the conduct of the
                                Organization’s business and includes leased, part-time,
                                seasonal and temporary workers, independent
                                contractors, volunteers and interns.

Executive                       means any natural persons who are directors, trustees,
                                officers, managing members, advisory board members
                                or committee members or any equivalent position of the
                                Organization.

Excess Benefit Transaction      means a transaction as defined in Internal Revenue
                                Code, Title 26 §4958 (c)(1).

Excess Benefit Transaction      means any excise tax imposed by the Internal Revenue
Excise Tax                      Service, pursuant to Section 4958(a)(2) of the Internal
                                Revenue Code, 26 U.S.C. § 4958(a)(2), against an
                                Individual Insured who participated as an
                                Organization Manager in connection with an Excess
                                Benefit Transaction.

Individual Insured              means any past, present or future:

                                    1. Executive;
                                    2. Employee; or


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                                    3. the estates, heirs, legal representatives or assigns
                                       of 1. and 2., above in the event of their death,
                                       incapacity or bankruptcy.

Loss                            means the amount the Insured becomes legally
                                obligated to pay as a result of a Claim, including:

                                    1. damages, settlements and judgments;
                                    2. pre-judgment and post judgment interest;
                                    3. punitive or exemplary damages to the extent such
                                       damages are insurable under applicable law,
                                       statute or regulation;
                                    4. the multiplied portion of any multiple damage
                                       award to the extent such damages are insurable
                                       under applicable law, statute or regulation; and
                                    5. any ten percent (10%) Excess Benefit
                                       Transaction Excise Tax assessed by the Internal
                                       Revenue Service against any Individual
                                       Insured, subject to a $100,000 maximum
                                       sublimit of liability per Policy Period for Loss
                                       and Defense Costs, combined provided, however
                                       that indemnification by the Organization for
                                       such taxes is not expressly prohibited in the
                                       bylaws, certificate of incorporation or other
                                       governing documents of the Organization. This
                                       sublimit of liability is part of and not in addition
                                       to the applicable Directors and Officers Limit of
                                       Liability as set forth on the Policy Declarations.

                                    For the purpose of determining the insurability of
                                    damages in items 3. and 4. above, the laws of the
                                    jurisdiction most favorable to the insurability of such
                                    damages shall control; provided that such
                                    jurisdiction has a substantial relationship to the
                                    relevant Insured or to the Claim giving rise to the
                                    damages.

                                However, Loss does not include:

                                    1. fines, penalties, sanctions and forfeitures;
                                    2. taxes, except for any ten percent (10%) Excess
                                       Benefit Transaction Excise Tax as outlined in
                                       subparagraph 5. above of this definition of
                                       “Loss”, or as otherwise provided by
                                       endorsement;
                                    3. any amount uninsurable under the law pursuant



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                                       to which this Policy is construed;
                                    4. cost of compliance with any order for, grant of or
                                       agreement to provide non-monetary or injunctive
                                       relief;
                                    5. any unpaid salary, wages, commissions,
                                       severance, bonus or incentive compensation that
                                       is due or alleged to be due to any person; or
                                    6. any amount for which an Individual Insured is
                                       absolved from payment by reason of any
                                       covenant, agreement or court order.

Organization Manager            means a person or persons described in Internal Revenue
                                Code, Title 26 §4958(f).

Outside Entity                  means any not-for-profit organization that qualifies as
                                such under Section 501(c) of the Internal Revenue Code
                                of 1986 (as amended), that is not an Insured.

Outside Capacity                means the service, other than Employed Attorney
                                Services, of an Individual Insured while acting in the
                                capacity of director, officer, trustee, managing member
                                or any equivalent position of an Outside Entity, but
                                only if such service is provided on behalf of the Outside
                                Entity with the specific knowledge, request, consent or
                                direction of the Named Insured.

Personal Injury Wrongful Act    means any actual or alleged false arrest, wrongful
                                detention, malicious prosecution, invasion of privacy,
                                wrongful entry or eviction, libel, slander or defamation.

Pollutants                      means any solid, liquid, gaseous, bacterial, fungal,
                                electromagnetic, thermal or other substance, smoke,
                                vapor, soot, fumes, acids, alkalis, chemicals, toxic
                                materials, ‘Volatile Organic Compound’, ‘Organic
                                Pathogen’, ‘Silica’, asbestos, lead and gases therefrom,
                                radon, combustion byproducts, noise and ‘Waste’.
                                Specific examples include, but are not limited to diesel,
                                kerosene, and other fuel oils, carbon monoxide, and
                                other exhaust gases, mineral spirits and other solvents,
                                tetrachloroethylene, perchloroethylene (PERC),
                                trichloroethylene (TCE), methylene chloroform, and
                                other dry cleaning chemicals, chlorofluorocarbons,
                                chlorinated hydrocarbons, adhesives, pesticides,
                                insecticides, and all substances specifically listed,
                                identified, or described by one or more of the following
                                references:


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                                    1. Comprehensive Environmental Response,
                                       Compensation, and Liability Act (CERCLA)
                                       Priority List Hazardous Substances (1997 and all
                                       subsequent editions); or
                                    2. Agency for Toxic Substances And Disease
                                       Registry ToxFAQs™; or
                                    3. U.S. Environmental Protection Agency EMCI
                                       Chemical References Complete Index.

                                For the purposes of this definition;

                                    1. ‘Volatile Organic Compound’ means any
                                       compound which discharges organic gases as it
                                       decomposes or evaporates, examples of which
                                       include but are not limited to formaldehyde,
                                       pesticides, adhesives, construction materials
                                       made with organic chemicals, solvents, paint
                                       varnish and cleaning products.
                                    2. ‘Organic Pathogen’ means any organic irritant or
                                       contaminant, including but not limited to mold,
                                       fungus, bacteria or virus, including but not
                                       limited to their byproduct such as mycotoxin,
                                       mildew, or biogenic aerosol.
                                    3. ‘Silica’ means silica in any form and any of its
                                       derivatives, including but not limited to silica
                                       dust, silicon dioxide, crystalline silica, quartz, or
                                       non-crystalline (amorphous) silica.
                                    4. ‘Waste’ means any property intended to be
                                       disposed, recycled, reused or reclaimed by the
                                       owner or user thereof.

Publisher Wrongful Act          means any infringement of copyright, trademark,
                                unauthorized use of title, or plagiarism or
                                misappropriation of ideas.

Wrongful Act                    means any:

                                    1. actual or alleged act, error, omission,
                                       misstatement, misleading statement, neglect, or
                                       breach of duties;
                                    2. Personal Injury Wrongful Act;
                                    3. Publisher Wrongful Act; or
                                    4. Employed Attorney Services

                                committed or allegedly committed by:




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                                           a. the Organization;
                                           b. any Individual Insured, arising solely from
                                              duties conducted on behalf of the
                                              Organization or asserted against an
                                              Individual Insured because of 1. above; or
                                           c. any Individual Insured while acting in an
                                              Outside Capacity.
      ______________________________________________________________________________
IV.   EXCLUSIONS

      A. The Company shall not be liable to make payment for Loss or Defense Costs in connection
         with any Claim made against the Insured arising out of, directly or indirectly resulting from,
         in consequence of, or in any way involving any actual or alleged:

      Conduct                                     1. deliberately fraudulent act, omission, criminal
                                                     act, or willful violation of any statute or
                                                     regulation by any Insured; or
                                                  2. any Insured having gained any profit,
                                                     remuneration or other advantage to which such
                                                     Insured was not legally entitled;

                                               provided that this exclusion will not apply to Defense
                                               Costs incurred until:

                                                     a. a final, non-appealable adjudication in any
                                                        underlying proceeding or action establishes
                                                        such conduct; or
                                                     b. the Insured has admitted, stipulated or
                                                        pleaded no contest to such conduct;

      Bodily Injury/Property                      1. bodily injury, assault, battery, sickness, disease,
      Damage                                         death, mental anguish, humiliation or emotional
                                                     distress of any person; or
                                                  2. damage to or destruction of any tangible property
                                                     including any resulting loss of use thereof;

                                               provided that this exclusion shall not apply to any
                                               mental anguish, humiliation or emotional distress
                                               asserted in an otherwise covered Claim alleging a
                                               Personal Injury Wrongful Act.

      Employee Benefits                        pension, profit sharing, welfare benefit or other
                                               employee benefit program established in whole or in
                                               part for the benefit of any Individual Insured, or based
                                               upon, arising out of or in any way involving the
                                               Employee Retirement Income Security Act of 1974 (or


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                                  any amendments thereof or regulations promulgated
                                  there under) or similar provisions of any federal, state
                                  or local statutory law or common law;

Insured vs Insured                Claim brought by or on behalf of any Insured;
                                  provided that this exclusion shall not apply to:

                                    1. any derivative action on behalf of, or in the name
                                       or right of the Organization, if such action is
                                       brought and maintained independent of and
                                       without the solicitation, assistance, participation
                                       or intervention of any Insured;
                                    2. any Claim in the form of a cross claim, third
                                       party claim or other claim for contribution or
                                       indemnity by any Individual Insured which is
                                       part of or results directly from a Claim which is
                                       not otherwise excluded under this Policy;
                                    3. any Claim brought or maintained by or on behalf
                                       of a bankruptcy or insolvency trustee, examiner,
                                       liquidator, receiver, rehabilitator, or creditors
                                       committee for an Organization; or
                                    4. any Claim brought and maintained by or on
                                       behalf of any former Executive, but only if such
                                       Claim does not arise out of, directly or indirectly
                                       result from, is in consequence of, or in any way
                                       involves any Wrongful Act, responsibilities,
                                       actions or failure to act by any Insured during
                                       the tenure of service of such former Executive.

Employment Practices              refusal to employ, termination of employment, or
                                  employment related coercion, demotion, evaluation,
                                  reassignment, discipline, workplace conditions, false
                                  imprisonment, defamation, harassment, humiliation, or
                                  discrimination of employment, or other employment-
                                  related practices, policies, acts or omissions or sexual
                                  harassment by any Insured against any person(s) or
                                  entity; or negligence involving any of the foregoing;

                                  it being understood that this exclusion applies whether
                                  the Insured may be held liable as an employer or in any
                                  other capacity and to any obligation to contribute with
                                  or indemnify another with respect to such Claim;

Discrimination                    discrimination, including but not limited to
                                  discrimination based on religion, race, creed, color, sex,
                                  age, marital status, sexual preference, pregnancy,



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                                  handicap or disability;

Outside Entity vs. Insured        Claim made by or on behalf of an Outside Entity or
                                  one or more of the Outside Entity’s directors, officers,
                                  trustees, managing members or any equivalent position
                                  against an Individual Insured acting in an Outside
                                  Capacity, provided, however that this exclusion shall
                                  not apply to:

                                    1. any Claim brought derivatively on behalf of the
                                       Outside Entity, independently and without the
                                       direct solicitation, participation, intervention or
                                       assistance of the Outside Entity or any Insured
                                       in an Outside Capacity;
                                    2. any Claim in the form of a cross claim, third
                                       party claim or other claim for contribution or
                                       indemnity by an Insured acting in an Outside
                                       Capacity and which is part of or results directly
                                       from a Claim which is not otherwise excluded
                                       under this Policy; and
                                    3. any Claim brought or maintained by or on behalf
                                       of a bankruptcy or insolvency trustee, examiner,
                                       liquidator, receiver, rehabilitator, or creditors
                                       committee for an Outside Entity against an
                                       Insured acting in an Outside Capacity for such
                                       Outside Entity.

Pollution                           1. discharge, emission, release, seepage, migration,
                                       dispersal or escape of Pollutants or any threat
                                       thereof, including nuclear reaction, radiation or
                                       contamination; or
                                    2. treatment, removal or disposal of any Pollutants;
                                    3. regulation, order, direction or request to test for,
                                       monitor, clean up, remove, contain, treat,
                                       detoxify or neutralize any Pollutants; or any
                                       voluntary decision to do so; or
                                    4. actual or alleged property damage including loss
                                       of use, bodily injury, sickness, disease or death of
                                       any person, or financial loss to an Organization
                                       or Outside Entity, their security holders, or their
                                       creditors resulting from any of the
                                       aforementioned matters in 1., 2., or 3. above of
                                       this Exclusion.


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Prior or Pending Litigation           litigation, demand, claim, arbitration, decree, judgment,
                                      proceeding, or investigation against any Insured, which
                                      was pending on or prior to the Prior or Pending
                                      Litigation date referenced on the Policy Declarations, or
                                      any such action based on the same or essentially the
                                      same fact, circumstance, matter, situation, transaction
                                      or event underlying or alleged therein;

Prior Notice                            1. fact, circumstance, matter, situation, transaction,
                                           event, or Wrongful Act that, before the effective
                                           date of this Policy, was the subject of any notice
                                           given under any similar policy of insurance; or
                                        2. other fact, circumstance, matter, situation,
                                           transaction, event, or Wrongful Act whenever
                                           occurring, which together with a fact,
                                           circumstance, matter, situation, transaction,
                                           event, or Wrongful Act described in
                                           subparagraph 1. above, would constitute
                                           Interrelated Wrongful Acts;

Prior Wrongful Acts of Subsidiaries     1. Wrongful Act committed by an Individual
                                           Insured of any Subsidiary, or by such
                                           Subsidiary, occurring before the date such entity
                                           became a Subsidiary; or
                                        2. other fact, circumstance, matter, situation,
                                           transaction, event, or Wrongful Act whenever
                                           occurring, which together with a fact,
                                           circumstance, matter, situation, transaction,
                                           event, or Wrongful Act described in
                                           subparagraph 1. above, would constitute
                                           Interrelated Wrongful Acts;

Professional Services                 rendering or failure to render legal (except Employed
                                      Attorney Services), medical, psychological, counseling
                                      services or referrals, if the Claim is brought by or on
                                      behalf of any individual and/or entity for whom such
                                      services were, now are, or shall be performed;

                                      provided that this exclusion shall not apply to that part
                                      of a Claim against an Individual Insured which
                                      alleges that the Individual Insured, in his or her
                                      capacity as such, failed to supervise those who
                                      performed such services.




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      B. The Company shall not be liable to make payment for Loss or Defense Costs in connection
         with any Claim made against the Insured for actual or alleged:

      Contract                              liability of the Insured under any express contract or
                                            agreement to which an Organization is a party,
                                            provided that this exclusion shall not apply to:

                                              1.  the extent that such Organization would have
                                                 been liable in the absence of such contract or
                                                 agreement; and
                                              2. any Claim against an Individual Insured.

      No Wrongful Act of one or more Insureds shall be imputed to any other Insured for the
      purpose of determining the applicability of any of the above exclusions in Section A. or B.
      above.
      ______________________________________________________________________________
V.    ORDER OF PAYMENTS

                                      In the event of Loss arising from a Claim for which payment
                                      is concurrently due under Insuring Agreement A., Individual
                                      Insured - Non-Indemnified Coverage, and one or more of the
                                      other Insuring Agreements of this Coverage Part, the
                                      Company shall:

                                          1. first pay Loss for which coverage is provided under
                                             Insuring Agreement A., Individual Insured - Non-
                                             Indemnified Coverage; then
                                          2. with respect to whatever remaining amount of the
                                             Limit of Liability is available after payment above,
                                             pay such Loss for which coverage is provided under
                                             any other Insuring Agreement.

                                  Except as otherwise provided above, the Company may pay
                                  covered Loss as it becomes due under this Coverage Part
                                  without regard to the potential for other future payment
                                  obligations under this Coverage Part.
      ______________________________________________________________________________
VI.   LIFETIME OCCURRENCE REPORTING PROVISION

                                          A. If this Policy is cancelled or not renewed by the
                                             Named Insured for any reason other than being sold,
                                             acquired, or declaring bankruptcy, each Individual
                                             Insured who did not serve as such at the time of the
                                             cancellation or non-renewal, shall be provided with an
                                             unlimited extension of time to report any Claim first


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                                              made against such Individual Insured after the
                                              effective date of such cancellation or non-renewal,
                                              subject to the following conditions:

                                              1. the Claim results from a Wrongful Act committed
                                                 by the Individual Insured before the effective
                                                 date of cancellation or non-renewal; and
                                              2. the Wrongful Act was actually or allegedly
                                                 committed during a Policy Period of a Policy
                                                 issued by the Company; and
                                              3. such Individual Insured was serving in such
                                                 capacity during the Policy Period of a Policy
                                                 issued by the Company; and
                                              4. no Directors & Officers Liability policy, or similar
                                                 policy providing essentially the same type of
                                                 coverage, or extended reporting period, is in effect
                                                 at the time the Claim is first made against such
                                                 Individual Insured; and
                                              5. the Claim is not otherwise excluded by the Policy
                                                 issued by the Company in effect at the time the
                                                 Wrongful Act actually or allegedly occurred; such
                                                 Policy shall be the Policy under which coverage is
                                                 applicable including all terms, conditions, limits,
                                                 retentions, and endorsements therein.
                                              6. the Company will have written continuous
                                                 coverage for Named Insured from the effective
                                                 date of the first Policy the Company issued to the
                                                 date of cancellation or non-renewal of this Policy.

                                      B. The LIFETIME OCCURRENCE REPORTING
                                         PROVISION described herein shall not apply to any
                                         Claim made against any Individual Insured caused
                                         by, arising or resulting, directly or indirectly from or
                                         in consequence of the Individual Insured’s serving in
                                         an Outside Capacity for an Outside Entity.
       _____________________________________________________________________________
VII.   TIMELY NOTICE AND RESOLUTION INCENTIVE

       Retention Forgiveness               In the event of a Claim, the Company shall waive the
                                           applicable retention under this Coverage Part, up to a
                                           maximum of $10,000, if each of the following conditions
                                           are met:

                                              1. The Claim is reported to the Company within
                                                 thirty (30) days of first receipt by an Insured; and
                                              2. The Company successfully negotiates a


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                                               settlement of the Claim within the Limits of
                                               Liability of this Coverage Part; and
                                            3. The Insured consents to the settlement of the
                                               Claim without condition within thirty (30) days
                                               after notice of the settlement is provided to the
                                               Insured by the Company; and
                                            4. Settlement of the Claim is finalized by the
                                               Company within ninety (90) days of the Claim
                                               being first reported to the Company.

        ______________________________________________________________________________
VIII.   OUTSIDE DIRECTORSHIP PROVISION

                                         In the event a Claim is made against any Individual
                                         Insured arising out of their service as a director, officer,
                                         trustee, managing member or any equivalent positions of
                                         an Outside Entity, coverage afforded under this Policy
                                         shall be excess of any indemnification provided by the
                                         Outside Entity and any insurance provided to the
                                         Outside Entity which covers its directors, trustees,
                                         officers, managing members or any equivalent position.




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      Non-Profit Management Liability Policy                   Employment Practices Coverage Part
      In consideration of payment of the premium and subject to the Policy Declarations, General
      Terms and Conditions, and the limitations, conditions, provisions and all other terms of this
      Coverage Part, the Company and the Insureds agree as follows:

      Words that are in bold have special meaning and are defined in Section II. DEFINITIONS of this
      Coverage Part, or in Section I. DEFINITIONS of the General Terms and Conditions,
      incorporated in or attached to this Coverage Part, as applicable.
      ______________________________________________________________________________
I.    INSURING AGREEMENTS
                                              The Company will pay on behalf of an Insured, Loss
                                              and Defense Costs resulting from a Claim first made
                                              against an Insured during the Policy Period or during
                                              any Extended Reporting Period, if applicable, by or on
                                              behalf of:

      A. Employment Practices Liability    any Employee or applicant for employment for a
                                           Wrongful Employment Act; or


      B. Third Party Liability       any natural person, other than an Employee, for a
                                     Wrongful Third Party Act.
      _____________________________________________________________________________
II.   DEFINITIONS

      Claim                                 means any:

                                               1. written notice received by an Insured that any
                                                  person or entity intends to hold such Insured
                                                  responsible for a Wrongful Act, including a written
                                                  demand for monetary or non-monetary relief,
                                                  including injunctive relief;
                                               2. civil proceeding commenced by the service of a
                                                  complaint or similar pleading;
                                               3. formal civil, administrative or regulatory proceeding
                                                  or formal civil, administrative or regulatory
                                                  investigation, including any such proceeding
                                                  brought by or in association with the Equal
                                                  Employment Opportunity Commission or any
                                                  similar federal, state or local agency with
                                                  jurisdiction over an Organization’s employment
                                                  practices;
                                               4. arbitration or mediation proceeding commenced by
                                                  receipt of a demand for arbitration, demand for
                                                  mediation or similar document; or
                                               5. Notice of Violation or Order to Show Cause or

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                                        written demand for monetary relief or injunctive
                                        relief, commenced by the receipt by an Insured of
                                        such Notice, Order or written demand, issued by the
                                        Office of Federal Contract Compliance Programs;

                                        received by, or brought or initiated against any
                                        Insured alleging a Wrongful Act, including any
                                        appeal therefrom.

                                       Claim also means any:
                                    6. written request, first received by an Insured to toll
                                       or waive a statute of limitations relating to a
                                       potential Claim as described in subparagraphs 1.
                                       through 5. above.

                                 A Claim shall be deemed made on the earliest of the date of
                                 service upon, or receipt by, any Insured of a potential
                                 Claim as described in subparagraphs 1. through 6. above.

                                 Notwithstanding the foregoing, Claim shall not include any
                                 labor dispute or grievance proceeding, arbitration or other
                                 proceeding brought against any Insured pursuant to a
                                 collective bargaining agreement.

Confidential Employee            means any non-public, personally identifiable information
Information                      regarding an Employee, collected, stored or transmitted by
                                 an Organization, for the purpose of establishing or
                                 maintaining an employment relationship.

Defense Costs                    means:
                                    1. reasonable and necessary legal fees and expenses
                                        incurred by the Company, or by any attorney
                                        designated by the Company to defend the Insured;
                                        and
                                    2. all other fees, costs, costs of attachment or similar
                                        bonds (without any obligation on the Company’s
                                        part to apply for or furnish such bonds);

                                 resulting from the investigation, adjustment, defense and
                                 appeal of a Claim. Defense Costs does not include Loss or
                                 salaries, wages, overhead, benefits expenses of any
                                 Individual Insured.

Employee                         means any natural person whose labor or service is engaged
                                 and directed by the Organization while performing duties
                                 related to the conduct of the Organization’s business and

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                                 includes leased, part-time, seasonal and temporary workers,
                                 independent contractors, volunteers and interns.

Employee Benefits                means perquisites, fringe benefits, deferred compensation or
                                 payments (including insurance premiums) in connection
                                 with an employee benefit plan, and any other payment to or
                                 for the benefit of an Employee arising out of the
                                 employment relationship. Employee Benefits shall not
                                 include salary, wages, commissions, or non-deferred cash
                                 incentive compensation.

ERISA or any similar act         means the Employee Retirement Income Security Act of
                                 1974, as amended, or any similar common or statutory law
                                 of the United States, Canada or their states, territories or
                                 provinces or any other jurisdiction anywhere in the world.

Executive                        means any natural persons who serve as directors, trustees,
                                 officers, managing members, advisory board members or
                                 committee members or any equivalent position of the
                                 Organization.

Fair Labor Standards Act         shall mean any actual or alleged violation of the Fair Labor
Violation                        Standards Act, any amendments thereto or the provisions of
                                 any similar federal, state or local law regulating minimum
                                 wage, working hours, overtime, child labor, record keeping
                                 and other matters regulated under the federal Fair Labor
                                 Standards Act, including misrepresentation under these
                                 laws. Fair Labor Standards Act Violation does not mean
                                 any actual or alleged violation of the Equal Pay Act, any
                                 amendments thereto or the provisions of any similar federal,
                                 state or local law.

Harassment                       means:

                                    1. sexual harassment including unwelcome sexual
                                       advances, requests for sexual favors or other verbal
                                       or physical conduct of a sexual nature that are made
                                       a condition of employment, are used as a basis for
                                       employment decisions, or create a work
                                       environment that is hostile, intimidating or offensive
                                       or that otherwise interferes with performance; or
                                    2. other workplace harassment, including workplace
                                       bullying, which creates a work environment that is
                                       hostile, intimidating or offensive or that otherwise
                                       interferes with performance.

Individual Insured               means any past, present or future:

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                                    1. Executive;
                                    2. Employee; or
                                    3. the estates, heirs, legal representatives or assigns of
                                       1. and 2. above in the event of their death, incapacity
                                       or bankruptcy.

Loss                             means the amount the Insured becomes legally obligated to
                                 pay as a result of a Claim, including:
                                    1. damages, settlements, and judgments;
                                    2. front pay and back pay;
                                    3. pre-judgment and post judgment interest;
                                    4. liquidated damages awarded by a court pursuant to a
                                        violation of the Equal Pay Act, the Age
                                        Discrimination in Employment Act and the Family
                                        Medical Leave Act, all as amended, or any rules or
                                        regulations promulgated thereunder, or similar
                                        provisions of any federal, state or local law, statute
                                        or regulation;
                                    5. punitive or exemplary damages to the extent such
                                        damages are insurable under applicable law, statute
                                        or regulation;
                                    6. the multiplied portion of any multiple damage award
                                        to the extent such damages are insurable under
                                        applicable law, statute or regulation; and
                                    7. attorney’s fees awarded by a court against an
                                        Insured to a person or entity bringing a Claim or
                                        agreed to by the Company, in writing, in connection
                                        with a settlement;

                                 For the purpose of determining the insurability of 4., 5., or
                                 6. above the laws of the jurisdiction most favorable to the
                                 insurability of such damages shall control; provided that
                                 such jurisdiction has a substantial relationship to the
                                 relevant Insured or to the Claim giving rise to the
                                 damages.

                                 However, Loss does not include:
                                   1. the cost of compliance with any order for, grant of,
                                      or agreement to provide non-monetary or injunctive
                                      relief;
                                   2. costs associated with providing any accommodation
                                      for persons with disabilities or any other status
                                      which is protected under any applicable federal, state
                                      or local statutory or common law, including but not
                                      limited to the Americans with Disabilities Act, the

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                                         Civil Rights Act of 1964, or any amendments to or
                                         rules or regulations promulgated thereunder;
                                    3.   any amounts uninsurable under the law pursuant to
                                         which this Coverage Part is construed;
                                    4.   civil or criminal fines, penalties, taxes, sanctions or
                                         forfeitures imposed on an Insured whether pursuant
                                         to law, statute, regulation or court rule;
                                    5.   future salary, wages, commissions or Employee
                                         Benefits of a person bringing a Claim who has been
                                         or shall be hired, promoted or reinstated to
                                         employment pursuant to a settlement, order, or other
                                         resolution of a Claim;
                                    6.   salary, wages, commissions, Employee Benefits,
                                         bonus or incentive compensation or other monetary
                                         payments which constitute severance payments or
                                         payments pursuant to a notice period;
                                    7.   Employee Benefits due or to become due or the
                                         equivalent value of such Employee Benefits, except
                                         with respect to any Claim for wrongful termination;
                                         or
                                    8.   any amount for which an Individual Insured is
                                         absolved from payment by reason of any covenant,
                                         agreement or court order.

Retaliation                      means retaliatory treatment against an Employee because
                                 of:

                                    1. the exercise of or attempt to exercise an Employee’s
                                       rights under law or for otherwise engaging in any
                                       legally protected activity;
                                    2. refusing to violate any law or opposing any unlawful
                                       practice;
                                    3. having cooperated in a proceeding or investigation
                                       (including an internal investigation by an
                                       Organization’s human resources department or
                                       legal department) into alleged unlawful activity by
                                       an Insured;
                                    4. disclosing or threatening to disclose to a superior or
                                       any governmental agency any alleged violations of
                                       law by an Insured and/or the Organization;
                                    5. filing any claim against the Organization under any
                                       federal, state or local whistleblower law including
                                       Federal False Claims Act, or Sarbanes-Oxley; or
                                    6. Employee strikes or slowdowns.

Wrongful Act                     means any Wrongful Employment Act or Wrongful

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                                 Third Party Act.

Wrongful Employment Act          means any actual or alleged:
                                    1. violation of any federal, state or local laws (whether
                                       statutory or common) prohibiting discrimination in
                                       employment based on a person’s race, color,
                                       religion, creed, genetic information, age, gender or
                                       gender identity, disability, marital status, national
                                       origin, pregnancy, HIV status, sexual orientation or
                                       preference, any protected military status, or any
                                       other status that is protected pursuant to any such
                                       laws;
                                    2. Harassment;
                                    3. Retaliation;
                                    4. wrongful: termination, dismissal or discharge of
                                       employment, whether actual or constructive;
                                    5. wrongful: demotion; denial of tenure; failure or
                                       refusal to hire or promote; denial of seniority; failure
                                       to employ; or wrongful or negligent employee
                                       reference;
                                    6. wrongful employment-related: misrepresentation;
                                       defamation, humiliation, libel or slander; negligent
                                       evaluation; wrongful discipline; wrongful
                                       deprivation of career opportunity; negligent
                                       retention, supervision, hiring or training; emotional
                                       distress, mental anguish, invasion of privacy or false
                                       imprisonment;
                                       but only when alleged as part of a Claim for an act
                                       described in 1. through 5. above;
                                    7. wrongful failure to adopt or enforce consistent
                                       employment-related corporate workplace policies
                                       and procedures arising from 1. through 6. above;
                                    8. breach of any express or implied contract, including
                                       any contract arising out of any personnel manual,
                                       employee handbook, policy statement or other
                                       representation; or
                                    9. unauthorized use or disclosure of Confidential
                                       Employee Information;

                                        committed or allegedly committed by an
                                        Organization or by an Individual Insured while
                                        acting in his or her capacity as such by any means
                                        including the internet, social media, email, or
                                        telecommunications systems.

Wrongful Third Party Act         means any actual or alleged:

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                                                1. discrimination based on race, color, religion, creed,
                                                   genetic information, age, gender or gender identity,
                                                   disability, marital status, national origin, pregnancy,
                                                   HIV status, sexual orientation or preference, any
                                                   military protected status, or any other status that is
                                                   protected pursuant to any federal, state or local
                                                   statutory or common law;
                                                2. harassment of either a sexual nature or other
                                                   unwelcome conduct; or
                                                3. violation of civil rights relating to such
                                                   discrimination or harassment;

                                       against any natural person, other than an Employee,
                                       committed or allegedly committed by an Organization or
                                       by an Individual Insured while acting in his or her
                                       capacity as such, by any means including the internet, social
                                       media or email, or telecommunication systems.
       _____________________________________________________________________________
III.   EXCLUSIONS

       A. The Company shall not be liable to make payment for Loss or Defense Costs in connection
          with any Claim made against the Insured for:

       Bodily Injury/ Property Damage       any actual or alleged bodily injury, sickness, disease or
                                            death of any person, or damage to or destruction of any
                                            tangible property including any resulting loss of use;
                                            provided that this exclusion shall not apply to any
                                            mental anguish, emotional distress, invasion of privacy,
                                            humiliation, libel, slander or defamation asserted in an
                                            otherwise covered Claim alleging a Wrongful Act.

       Violation of Law                     any actual or alleged violation of:
                                                1. ERISA or any similar act (except Section 510
                                                   of ERISA), or any other federal, state or local
                                                   statutory or common law anywhere in the world
                                                   governing any employee benefit program, policy,
                                                   plan or arrangement of any type, including but
                                                   not limited to laws governing retirement or
                                                   pension benefit programs, welfare plans,
                                                   insurance plans, employee stock options,
                                                   employee stock ownership plans, employee stock
                                                   purchase plans or deferred compensation
                                                   programs;
                                                2. the Consolidated Omnibus Budget
                                                   Reconciliation Act of 1985 (COBRA), as
                                                   amended or any other similar federal, state or

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                                                 local statutory or regulatory law or common law
                                                 anywhere in the world;
                                            3.   any law governing workers’ compensation,
                                                 unemployment insurance, social security,
                                                 disability benefits or any other similar federal,
                                                 state or local statutory or regulatory law or
                                                 common law anywhere in the world;
                                            4.   the Occupational Safety and Health Act of 1970
                                                 (OSHA), as amended, or any other federal, state
                                                 or local statutory or regulatory law or common
                                                 law anywhere in the world governing workplace
                                                 safety and health;
                                            5.   the Workers’ Adjustment and Retraining
                                                 Notification Act, Public Law 100-379 (1988), as
                                                 amended, or any other federal, state or local
                                                 statutory or regulatory law or common law
                                                 anywhere in the world governing an employer’s
                                                 obligation to notify or bargain with others in
                                                 advance of any facility closing or mass layoff; or
                                            6.   the National Labor Relations Act, as amended, or
                                                 any other federal, state or local statutory or
                                                 regulatory law or common law anywhere in the
                                                 world governing employees’ rights and
                                                 employers’ duties with respect to unions,
                                                 bargaining, strikes, boycotts, picketing, lockouts
                                                 or collective activities;

                                                 however, the foregoing shall not apply to any
                                                 Claim alleging Retaliation (including any
                                                 Claim alleging retaliation in violation of Section
                                                 510 of ERISA) or wrongful termination of
                                                 employment whether actual or constructive,
                                                 because of an Employee’s exercise of a right
                                                 pursuant to any such laws.

B. The Company shall not be liable to make payment for Loss or Defense Costs (except where
   otherwise noted) in connection with any Claim made against an Insured arising out of,
   directly or indirectly resulting from or in consequence of, or in any way involving any actual
   or alleged:


Prior or Pending Litigation             litigation, demand, claim, arbitration, decree, judgment,
                                        proceeding, or investigation against any Insured, which
                                        was pending on or prior to the Prior or Pending
                                        Litigation date referenced on the Policy Declarations, or
                                        any such action based on the same or essentially the

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                                                   same fact, circumstance, matter, situation, transaction or
                                                   event underlying or alleged therein;

           Prior Notice                                1. fact, circumstance, matter, situation, transaction,
                                                          event, or Wrongful Act that, before the effective
                                                          date of this Policy, was the subject of any notice
                                                          given under any similar policy of insurance; or
                                                       2. other fact, circumstance, matter, situation,
                                                          transaction, event, or Wrongful Act whenever
                                                          occurring, which together with a fact,
                                                          circumstance, matter, situation, transaction,
                                                          event, or Wrongful Act described in
                                                          subparagraph 1. above, would constitute
                                                          Interrelated Wrongful Acts;

           Prior Wrongful Acts of Subsidiaries          1. Wrongful Act committed by an Individual
                                                           Insured of any Subsidiary, or by such
                                                           Subsidiary, occurring before the date such
                                                           entity became a Subsidiary; or
                                                        2. other fact, circumstance, matter, situation,
                                                           transaction, event, or Wrongful Act whenever
                                                           occurring, which together with a fact,
                                                           circumstance, matter, situation, transaction,
                                                           event, or Wrongful Act described in
                                                           subparagraph 1. above, would constitute
                                                           Interrelated Wrongful Acts;

           Wage and Hour                           Fair Labor Standards Act Violation

           Breach of Employment Contract   breach of any express employment contract or express
                                           employment agreement; provided that this exclusion
                                           shall not apply to:
                                                1. Loss to the extent an Insured would have been
                                                    liable for such Loss in the absence of such
                                                    contract or agreement; or
                                                2. Defense Costs.
            ______________________________________________________________________________
LIFE IV. LIFETIME OCCURRENCE REPORTING PROVISION

                                                 A. If this Policy is cancelled or not renewed by the
                                                    Named Insured for any reason other than being
                                                    sold, acquired, or declaring bankruptcy, each
                                                    director or officer who did not serve as such at
                                                    the time of the cancellation or non-renewal, shall
                                                    be provided with an unlimited extension of time
                                                    to report any Claim first made against such

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                                  director or officer after the effective date of such
                                  cancellation or non-renewal, subject to the
                                  following conditions:

                               1. the Claim results from a Wrongful Act
                                  committed by the director or officer before the
                                  effective date of cancellation or non-renewal;
                                  and
                               2. the Wrongful Act was actually or allegedly
                                  committed during a Policy Period of a Policy
                                  issued by the Company; and
                               3. such director or officer was serving in such
                                  capacity during the Policy Period of a Policy
                                  issued by the Company; and
                               4. no Directors & Officers Liability policy, or
                                  similar policy providing essentially the same
                                  type of coverage, or extended reporting period,
                                  is in effect at the time the Claim is first made
                                  against such director or officer; and
                               5. the Claim is not otherwise excluded by the
                                  Policy issued by the Company in effect at the
                                  time the Wrongful Act actually or allegedly
                                  occurred; such Policy shall be the Policy under
                                  which coverage is applicable including all
                                  terms, conditions, limits, retentions, and
                                  endorsements therein.
                               6. the Company will have written continuous
                                  coverage for Named Insured from the effective
                                  date of the first Policy the Company issued to
                                  the date of cancellation or non-renewal of this
                                  Policy.

                           B. The LIFETIME OCCURRENCE REPORTING
                              PROVISION described herein shall not apply to
                              any Claim made against any director or officer
                              caused by, arising or resulting, directly or indirectly
                              from or in consequence of the director or officer
                              serving in an Outside Capacity for an Outside
                              Entity.




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                       This Endorsement modifies insurance provided under the following:

                   NON PROFIT MANAGEMENT LIABILITY POLICY

                         DATA & SECURITY+ ENDORSEMENT
It is hereby agreed:

Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth in
this endorsement are solely applicable to coverage afforded by this endorsement. This
endorsement is part of and subject to the provisions of the Policy to which it is attached.

I. SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS

The following is a summary of coverages and Limits of Liability provided by this
endorsement.

COVERAGE                                                   LIMIT OF LIABILITY

A. Data Breach Expense                                     $50,000 each claim
                                                           $50,000 in the aggregate

B. Identity Theft Expense                                  $50,000 each claim
                                                           $50,000 in the aggregate

C. Workplace Violence Act Expense                          $50,000 each claim
                                                           $50,000 in the aggregate

D. Kidnapping Expense                                      $50,000 each claim
                                                           $50,000 in the aggregate

The maximum aggregate per Policy Period for A. through D. above shall be $200,000 in the
aggregate.

No retentions shall apply to the sublimits shown above.

II. COVERAGES:

A. Data Breach Expense
   The Company will pay on behalf of the Organization up to the Data Breach Expense
   Limit of Liability stated in the schedule above, for reasonable and necessary expenses in
   items 1. through 6. below:
   1. Development of a plan to assist the Organization in responding to a Data Breach;
   2. Data analysis or forensic investigation to assess the scope of a Data Breach;
   3. The development, printing and mailing of legally required notification letters to those
       affected by a Data Breach;



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   4. Development of a website link for use by the Organization in communicating with
      persons affected by a Data Breach after legally required notification letters are sent;
   5. Development of a customer relationship management system for use by the
      Organization in communicating with persons affected by a Data Breach after
      legally required notification letters are sent;
   6. Public relations services or crisis management services retained by the Organization
      to mitigate the adverse affect on the Organization’s reputation resulting from a Data
      Breach that becomes public and only after legally required notification letters are sent.

   incurred by the Organization as a result of a Data Breach. The Data Breach must first
   occur, be discovered by an Insured, and reported to the Company during the Policy Period
   but in no event later than sixty (60) days after the Data Breach is first discovered by an
   Insured. The expenses below must be incurred within one (1) year of the reporting of such
   Data Breach:

   The Organization must first report the Data Breach to the Company and use a service
   provider of the Company’s choice prior to incurring any of the above costs.

B. Identity Theft Expense
   The Company will pay on behalf of a director or officer of the Organization up to the
   Identity Theft Expense Limit of Liability stated in the schedule above, for expenses,
   services or fees noted in items 1. through 3. below:
   1. Credit monitoring services provided by a vendor of the Company’s choice for the
       affected director or officer for up to one year following an Identity Theft;
   2. Additional application fees paid by a director or officer whose loan(s) were rejected
       based on incorrect credit information resulting from an Identity Theft;
   3. Notary fees, certified and overnight mail expenses paid by a director or officer in
       connection with reporting an Identity Theft to financial institutions, credit bureaus
       and agencies and law enforcement authorities.

   incurred by such director or officer after he or she has become a victim of Identity Theft.
   The Identity Theft must first occur, be first discovered by an Insured, and reported to the
   Company during the Policy Period but in no event later than sixty (60) days after the
   Identity Theft is first discovered by an Insured. The expenses above must be incurred
   within one (1) year of the reporting of such Identity Theft:

   Any director or officer of the Organization who is a victim of Identity Theft must first
   report the Identity Theft to the Company and use a service provider of the Company’s
   choice prior to incurring any of the above expenses, services or fees.

C. Workplace Violence Act Expense
   The Company will reimburse the Organization, up to the Workplace Violence Act
   Expense Limit of Liability stated in the schedule above, for the following reasonable costs
   paid by the Organization for a period of thirty (30) days following, and as a result of, a
   Workplace Violence Act:
   1. Counseling services rendered to Employees and persons on the Organization’s



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      Premises directly affected by a Workplace Violence Act. The counseling services
      must be rendered by a licensed, professional counselor of the Organization’s choice.
   2. Services rendered by an independent public relations consultant of the
      Organization’s choice for the purpose of mitigating the adverse affect of a
      Workplace Violence Act on the Organization.

   To be covered, the Workplace Violence Act must occur during the Policy Period and be
   reported to the Company during the Policy Period but in no event later than sixty (60)
   days after the occurrence.

D. Kidnapping Expense
   The Company will reimburse the Organization, up to the Kidnapping Expense Limit of
   Liability stated in the schedule above, for the following reasonable costs paid by the
   Organization as a result of a Kidnapping:
   1. Retaining an independent negotiator or consultant to facilitate the release of a
      Kidnapping victim. Nothing herein shall obligate the Company to recommend,
      select, retain or arrange for the retention of such independent negotiator or consultant;
   2. Interest on a loan obtained by the Organization to pay expenses covered under this
      endorsement that is incurred as a result of a Kidnapping. However, there is no coverage
      for interest accruing prior to thirty (30) days preceding the date of such
      payment or subsequent to the date the Company pays any portion of a Kidnapping
      Expense or for expenses not covered under this endorsement;
   3. Travel and accommodations incurred by the Organization in direct response to the
      Kidnapping. Nothing herein shall obligate the Company to recommend, select, or
      arrange for such travel and accommodations;
   4. A reward up to $10,000 paid by the Organization to an informant for information which
      leads to the arrest and conviction of the person(s) responsible for the Kidnapping;
   5. The current base salary paid to a director or officer of the Organization for the
      director or officer’s work on behalf of the Organization, who is a victim of a
      Kidnapping subject to the following:
      a. salary reimbursement shall commence on the thirty-first (31st) consecutive day after a
           Kidnapping;
      b. salary reimbursement shall end when the director or officer is released; or is
           confirmed dead; or one hundred and twenty (120) days after the director or
           Officer is last confirmed to be alive; or twelve (12) months after the date of the
           Kidnapping, or when the Kidnapping Expense Limit of Liability has been
           exhausted by payments made by the Company, whichever occurs first.
           There is no coverage for Kidnapping Expense resulting from a Kidnapping planned,
           carried out or participated in, directly or indirectly, by any person who is or was a
           member of the victim’s family or the Organization.

   The Kidnapping must occur and be reported to the Company during the Policy Period but
   in no event later than sixty (60) days after the occurrence.

III. ADDITIONAL DEFINITIONS




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It is hereby agreed that the Directors and Officers Coverage Part, Section III. DEFINITIONS, is
amended by the addition of the following definitions:

Data Breach                           means the misappropriation or public disclosure, by
                                      electronic or non-electronic means, by the Organization
                                      and without the knowledge of, consent, or acquiescence
                                      of the president, member of the board of directors or any
                                      executive officer, of an individual(s) Personally
                                      Identifiable Information in the Organization’s care,
                                      custody and control without the authorization or
                                      permission of the owner of such information.

Identity Theft                        Means:

                                          1. the act of obtaining Personally Identifiable
                                             Information belonging to a director or officer of
                                             the Organization without that person’s
                                             authorization, consent or permission; and
                                          2. the use of Personally Identifiable Information
                                             so obtained to make or attempt to make
                                             transactions or purchases by fraudulently
                                             assuming that person’s identity.

                                      Identity Theft does not mean any of the above
                                      committed directly or indirectly by a director or
                                      officer of the Organization, or by a family member of
                                      any director or officer.

                                      There is no coverage for any Identity Theft Expense
                                      unless Personally Identifiable Information
                                      that is obtained without authorization, consent or
                                      permission is used to make or attempt to make
                                      purchases or conduct transactions by fraudulently
                                      assuming the identity of a director or officer of the
                                      Organization.

Kidnapping                            means an actual or alleged wrongful abduction and
                                      involuntary restraint of a director or officer of the
                                      Organization, by one or more persons acting
                                      individually or collectively in which monetary or non-
                                      monetary demands are made to the Organization to
                                      obtain the director’s or officer’s release.

Personally Identifiable               means:
Information
                                          1. information concerning an individual(s) that



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                                              would be considered “non-public information”
                                              within the meaning of Title V of the Gramm-
                                              Leach Bliley Act of 1999 (as amended) and its
                                              implementing regulations including but not
                                              limited to Social Security numbers or account
                                              numbers correlated with names and addresses
                                              which is in an Insured’s care, custody and
                                              control; and
                                           2. personal information as defined in any U.S.
                                              federal, state or local privacy protection law
                                              governing the control and use of an individual’s
                                              personal and confidential information, including
                                              any regulations promulgated thereunder; and
                                           3. protected health information as defined by the
                                              Health Insurance Portability and Accountability
                                              Act of 1996 (Public Law 104-191) (“HIPPA”) or
                                              the Health Information Technology for
                                              Economic and Clinical Health Act of 2009
                                              (“HITECH”) (Public Law 111- 5), as amended,
                                              and any regulations promulgated thereto.
                                              Personally Identifiable Information does not
                                              mean information that is available to the public
                                              which does not include otherwise protected
                                              personal information.

Premises                               means buildings, facilities or properties leased or owned
                                       by the Organization in conducting its operations.

Workplace Violence Act                 means an actual use of unlawful deadly force, or
                                       the threatened use of unlawful deadly force involving
                                       the display of a lethal weapon, occurring on the
                                       Organization’s Premises and directed at an Individual
                                       Insured, or other persons on the Premises of the
                                       Organization.

IV. LIMITS OF LIABILITY AND RETENTION

   1. The maximum Limit of Liability for any expenses provided by this endorsement shall be
      in addition to the Limits of Liability as set forth in the Policy Declarations for the
      Directors and Officers Coverage Part.
   2. Any one incident, interrelated incidents or series of similar or related incidents for which
      coverage is provided under this endorsement shall be treated as one incident subject to
      the maximum Limit of Liability available under this endorsement at the time the
      incident(s) is first reported to the Company regardless of whether the incident(s)
      continues and expenses are incurred by the Organization in any subsequent Policy
      Period(s).



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V. ADDITIONAL EXCLUSIONS

It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS, is
amended by the addition of the following:

Data Breach Related                      1. Expense reimbursement resulting in any
                                            Insured gaining any profit, remuneration
                                            or advantage to which the Insured is not
                                            legally entitled;
                                         2. expenses incurred by any Subsidiary of
                                            an Organization occurring prior to the
                                            date that such entity became a Subsidiary
                                            or incurred at any time that such entity is
                                            not a Subsidiary;
                                         3. expenses arising from any incident(s) of
                                            which any Insured had notice before the
                                            inception date of this Policy; or any fact,
                                            circumstance, event, situation or incident
                                            which before the inception date of this
                                            Policy was the subject of any notice under
                                            any other similar policy of insurance or
                                            any future claims for expenses under this
                                            Policy based upon such pending or prior
                                            notice;
                                         4. The portion of any expenses covered
                                            under this endorsement that is also
                                            covered under any other coverage part of
                                            this Policy;
                                         5. Reissuance of credit or debit cards or any
                                            other expense not shown in Section II,
                                            COVERAGES, sub-section A, Data
                                            Breach Expense.


VI. COVERAGE LIMITATIONS

The following terms, conditions and exclusions in the General Terms and Conditions and the
Directors and Officers Coverage Part do not apply to this endorsement:

   1. General Terms and Conditions
      a. Section II. EXTENDED REPORTING PERIOD
      b. Section XI. SPOUSAL AND DOMESTIC PARTNER EXTENSION
   2. Directors and Officers Coverage Part
      a. Section IV. EXCLUSIONS, Subsection A. “Bodily Injury/Property Damage”
      b. Section VI. LIFETIME OCCURRENCE REPORTING PROVISION


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       c. Section VIII. OUTSIDE DIRECTORSHIP PROVISION



All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:

                   NON PROFIT MANAGEMENT LIABILITY POLICY

               FAIR LABOR STANDARDS ACT ENDORSEMENT
               DEFENSE COSTS AND INDEMNITY COVERAGE
It is hereby agreed that the Employment Practices Coverage Part, Section I. INSURING
AGREEMENTS, is amended by the addition of the following:

C. Fair Labor Standards Act              1. any Employee for a Fair Labor Standards Act
   Defense Costs and Indemnity              Violation; provided that this Insuring Agreement C.
   Coverage                                 is subject to a maximum sublimit of liability of
                                            $100,000 per Policy Period for Loss and Defense
                                            Costs, combined. This sublimit of liability is part of
                                            and not in addition to the applicable Employment
                                            Practices Limit of Liability as set forth on the Policy
                                            Declarations, and is subject to the applicable
                                            Retention for the Employment Practices Liability
                                            Coverage Part.

It is also agreed that the Employment Practices Coverage Part, Section III. EXCLUSIONS,
Subsection B. “Wage and Hour” is deleted in its entirety.

It is also agreed that the Employment Practices Coverage Part, Section II., DEFINITIONS,
Wrongful Act is deleted and replaced by the following:

Wrongful Act                             means any Wrongful Employment Act, any Fair
                                         Labor Standards Act Violation, or any
                                         Wrongful Third Party Act.



All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                    This Endorsement modifies insurance provided under the following:

                   NON PROFIT MANAGEMENT LIABILITY POLICY

   AMENDMENT OF PRIOR OR PENDING LITIGATION EXCLUSION
It is hereby agreed that the Directors and Officers Coverage Part, Section IV. EXCLUSIONS,
Subsection A. “Prior or Pending Litigation” is deleted and replaced by the following:

Prior or Pending Litigation            Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                       Insured, or any such action based upon the same or
                                       essentially the same facts, circumstances, matters,
                                       situations, transactions or events underlying or
                                       alleged therein which was pending on or prior to the
                                       effective date of this Policy;

                                       provided that, if this Policy is a renewal of a Policy
                                       previously issued by the Company in a continuous
                                       succession of Policies with no lapses in coverage,
                                       the effective date of this Policy will mean the
                                       effective date of the first Policy issued by the
                                       Company in such succession of Policies.

It is also agreed that the Employment Practices Coverage Part (if purchased), Section III.
EXCLUSIONS, Subsection B. “Prior or Pending Litigation” is deleted and replaced by the
following:

Prior or Pending Litigation            Any litigation, demand, claim, arbitration, decree,
                                       judgment, proceeding, or investigation against any
                                       Insured, or any such action based upon the same or
                                       essentially the same facts, circumstances, matters,
                                       situations, transactions or events underlying or
                                       alleged therein which was pending on or prior to the
                                       effective date of this Policy;

                                       provided that, if this Policy is a renewal of a Policy
                                       previously issued by the Company in a continuous
                                       succession of Policies with no lapses in coverage,
                                       the effective date of this Policy will mean the
                                       effective date of the first Policy issued by the
                                       Company in such succession of Policies.

It is also agreed that the Fiduciary Liability Coverage Part (if purchased), Section III.
EXCLUSIONS, Subsection B. “Prior or Pending Litigation” is deleted and replaced by the
following:



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Prior or Pending Litigation           Any litigation, demand, claim, arbitration, decree,
                                      judgment, proceeding, or investigation against any
                                      Insured, or any such action based upon the same or
                                      essentially the same facts, circumstances, matters,
                                      situations, transactions or events underlying or
                                      alleged therein which was pending on or prior to the
                                      effective date of this Policy;

                                      provided that, if this Policy is a renewal of a Policy
                                      previously issued by the Company in a continuous
                                      succession of Policies with no lapses in coverage,
                                      the effective date of this Policy will mean the
                                      effective date of the first Policy issued by the
                                      Company in such succession of Policies.



All other terms and conditions of this Policy remain unchanged. This endorsement is part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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     Non-Profit Management Liability Policy                          General Terms and Conditions
     In consideration of the payment of the premium and reliance upon all statements made and
     information furnished to the Company, including the statements made in the Application and
     subject to all the provisions of this Policy, the Company and the Insureds agree as follows:

     NOTICE: This is a Claims Made Policy. This means the Company will cover only those
     Claims first made against the Insured during the Policy Period or, where applicable, the
     Extended Reporting Period.

     If any provision in these General Terms and Conditions is inconsistent or in conflict with the
     terms and conditions of any Coverage Part, the terms and conditions of such Coverage Part
     shall control for the purposes of that Coverage Part.

     Any bolded term in a Coverage Part that is defined in these General Terms and Conditions shall
     have the meaning set forth in these General Terms and Conditions. Any bolded term in a
     Coverage Part that is defined in that Coverage Part shall have the meaning set forth in such
     Coverage Part.

     The descriptions in the headings and subheadings of this Policy are solely for convenience and
     form no part of the terms and conditions of coverage, and do not serve to express, confirm, alter
     or provide coverage.
     ______________________________________________________________________________
I.   DEFINITIONS

     Application                       means:

                                          1. an application and any materials submitted for this
                                             Policy; and
                                          2. an application and any materials submitted for all
                                             previous Policies issued by the Company providing
                                             uninterrupted coverage.

                                       The content of 1. and 2. above are incorporated by reference
                                       in this Policy as if physically attached hereto.

     Claim                             shall have the meaning as defined in the applicable Coverage
                                       Part.

     Company                           means the insurance company identified in the Policy
                                       Declarations.

     Coverage Part                     means individually or collectively, as applicable, the
                                       purchased coverage parts as set forth in the Policy
                                       Declarations as included and attached to and made a part of
                                       this Policy.




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Defense Costs                shall have the meaning as defined in the applicable Coverage
                             Part.

Domestic Partner             means any natural person qualifying as a domestic partner
                             under the provision of any applicable federal, state or local
                             laws.

Employee                     shall have the meaning as defined in the applicable Coverage
                             Part.

Financial Impairment         means:

                                1. the appointment by any federal or state official, agency
                                   or court of any receiver, conservator, liquidator, trustee,
                                   rehabilitator, creditors committee or similar official to
                                   take control of, supervise, manage or liquidate the
                                   Organization and provided that the court or other
                                   judicial or administrative body overseeing the
                                   receivership, conservatorship, liquidation,
                                   rehabilitation, bankruptcy or equivalent proceeding has
                                   denied a request by the Organization to indemnify an
                                   Individual Insured for a Loss; or
                                2. the Organization becoming a debtor in possession
                                   under the United States bankruptcy law or the
                                   equivalent of a debtor in possession under the law of
                                   any other country.

Insured                      means any Organization and any Individual Insured.

Individual Insured           shall have the meaning as defined in the applicable Coverage
                             Part.

Interrelated Wrongful Acts   means any Wrongful Acts based upon, arising from, or in
                             consequence of the same or related facts, circumstances,
                             situations, transactions or events, or that are logically or
                             causally connected by reason of any common or related series
                             of facts, circumstances, situations, transactions or events.

Loss                         shall have the meaning as defined in the applicable Coverage
                             Part.

Management Control           means:

                                1. control of more than fifty percent (50%) of the voting
                                   rights representing the right to appoint, elect, or
                                   designate the majority of the board of directors, board



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                                  of trustees, or board of managers; or
                               2. control of exactly fifty percent (50%) of the voting
                                  rights representing the right to appoint, elect, or
                                  designate the majority of the board of directors, board
                                  of trustees, or board of managers; and pursuant to a
                                  written contract solely controls the management and
                                  operations of such entity.

Named Insured               means the entity named in Item 1. of the Policy Declarations.

Organization                means:

                               1. the Named Insured and any Subsidiary; and
                               2. any entity as debtor in possession under United States
                                  bankruptcy law or equivalent status under the law of
                                  any other jurisdiction.

Plan                        shall have the meaning as defined in the applicable Coverage
                            Part.
Policy                      means collectively the Policy Declarations, General Terms
                            and Conditions, applicable Coverage Parts, applicable
                            endorsements, and the Application.

Policy Period               means the period of time from the effective date and time of
                            this Policy to the date and time of expiration as shown in the
                            Policy Declarations, or its earlier cancellation or termination
                            date. If the length of the Policy Period is the same as the
                            Policy Year, the terms Policy Period and Policy Year are
                            used interchangeably herein.

Policy Year                 means the period of one (1) year following the effective date
                            of the Policy Period or any subsequent one-year anniversary
                            thereof; or

                            In the event the Policy expires less than one (1) year following
                            the effective date of the Policy Period; or more than one (1)
                            year but less than two (2) years following the effective date of
                            the Policy Period; then Policy Year shall mean any such
                            period.

Subsidiary                  means:

                               1. any not-for-profit entity in which the Named Insured
                                  has Management Control directly or indirectly
                                  through one or more Subsidiaries on or before the



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                                          effective date of this Policy; and is disclosed as a
                                          Subsidiary in an Application to the Company; or
                                       2. any other entity added as a Subsidiary by written
                                          endorsement to this Policy.

      Takeover                       means:

                                       1. the acquisition by another entity or person or group of
                                          entities or persons acting in concert of:
                                          a. the Management Control of the Named Insured;
                                              or
                                          b. the acquisition of more than fifty percent ( 50%) of
                                              the total consolidated assets of the Named Insured
                                              as of the date of the Named Insured’s most recent
                                              consolidated financial statements prior to such
                                              acquisition;
                                       2. the merger of the Named Insured into another entity
                                          such that the Named Insured is not the surviving
                                          entity;
                                       3. the consolidation of the Named Insured with another
                                          entity; or
                                       4. the loss, forfeiture, or suspension of the Named
                                          Insured’s tax exempt status.

      Wrongful Act                shall have the meaning as defined in the applicable Coverage
                                  Part.
      ______________________________________________________________________________
II.   EXTENDED REPORTING PERIOD

      Right to Purchase              If the Policy expires, is cancelled or not renewed for any
                                     reason other than non-payment of premium, then the
                                     Named Insured shall have the right to purchase an
                                     Extended Reporting Period to report to the Company, as
                                     soon as practicable prior to the expiration date of the
                                     purchased Extended Reporting Period, any Claim against
                                     an Insured.

                                     An Extended Reporting Period shall only apply to
                                     Claims arising from a Wrongful Act which was actually
                                     or allegedly committed before the date of expiration,
                                     cancellation or non-renewal of this Policy, or prior to the
                                     effective date of any Takeover. For the purpose of this
                                     clause, the offer of renewal terms and conditions or
                                     premiums by the Company different from those in effect
                                     prior to renewal shall not constitute a refusal to renew.



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      Options                        The additional premium for the Extended Reporting
                                     Period shall be a percentage of the total annual premium
                                     as shown in the Policy Declarations. The Named
                                     Insured may elect any one of the following options:

                                       1. Twelve (12) month period - 30% of the annual
                                          premium;
                                       2. Twenty Four (24) month period - 75% of the
                                          annual premium; or
                                       3. Thirty Six (36) month period - 120% of the annual
                                          premium.

                                     The Extended Reporting Period begins on the expiration
                                     date of the Policy, or if cancelled or non-renewed, the
                                     effective date of such cancellation or non-renewal of the
                                     Policy.

      Payment & Notice to the        As a condition precedent to the right to purchase an
      Company                        Extended Reporting Period, the total earned premium for
                                     this Policy must have been paid to the Company. Any
                                     premium paid with respect to an Extended Reporting
                                     Period shall be deemed fully earned as of the first day of
                                     the Extended Reporting Period. The right to elect the
                                     Extended Reporting Period will terminate unless written
                                     notice of such election, together with payment of the
                                     additional premium as set forth above, is received by the
                                     Company within sixty (60) days of the effective date of
                                     the expiration, nonrenewal or cancellation of this Policy.

      Extended Reporting Period   The Extended Reporting Period will not provide a new,
      Limits                      separate or additional Limit of Liability. The remainder
      & Other Insurance           of the Limit of Liability applicable to the Policy Year in
                                  effect as of the effective date of the expiration,
                                  cancellation, or non-renewal is the maximum Limit of
                                  Liability for all Claims reported during the Extended
                                  Reporting Period.
____________________________________________________________________________________
III.  DEFENSE & SETTLEMENT

      Duty To Defend                 The Company shall have the right and duty to
                                     defend any Claim covered by this Policy even if the
                                     allegations are groundless, false or fraudulent. The
                                     Company shall have the right to appoint counsel of
                                     its choice with respect to such Claim. The
                                     Company’s obligation to defend any Claim or pay
                                     any Loss or Defense Costs shall be completely



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                             fulfilled and extinguished if the applicable Limit of
                             Liability has been exhausted by payment of Loss.

Consent to Settle            The Company, as it deems necessary, has the right
                             to investigate, adjust, defend, appeal and, with the
                             consent of the Insured, negotiate the settlement of
                             any Claim whether within or in excess of the
                             Retention. If the Insured refuses to consent to a
                             settlement recommended by the Company, the
                             Company’s obligation to the Insured for Loss and
                             Defense Costs attributable to such Claim shall be
                             limited to:

                                   a. The amount of the covered Loss in excess
                                      of the Retention which the Company
                                      would have paid in settlement at the time
                                      the Insured first refused to settle; plus
                                   b. covered Defense Costs incurred up to the
                                      date the Insured first refused to settle;
                                      plus
                                   c. eighty percent (80%) of covered Loss and
                                      Defense Costs in excess of the first
                                      settlement amount recommended by the
                                      Company to which the Insured did not
                                      consent.

                             It is understood that payment of a., b. and c. above
                             is the limit of the Company’s liability under this
                             Policy for any Claim in which the Insured fails or
                             refuses to consent to the Company’s settlement
                             recommendation, subject at all times to Section IX.
                             LIMITS OF LIABILITY and Section X.
                             RETENTIONS AND PRESUMPTIVE
                             INDEMNIFICATION of these General Terms and
                             Conditions. The remaining twenty percent (20%) of
                             Loss and Defense Costs in excess of the amount
                             referenced in a. and b. above shall be the obligation
                             of the Insured.

                             In no event shall the Company be obligated to pay
                             any Loss or Defense Costs after the applicable
                             Limit of Liability shown in the Policy Declarations
                             has been exhausted by payment of Loss.




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      Consent of the Company       The Insured shall not demand or agree to
                                   arbitration of any Claim without the Company’s
                                   written consent. The Insured shall not, except at
                                   personal cost, make any offer or payment, admit any
                                   liability, settle any Claim, assume any obligation, or
                                   incur any expense without the Company’s written
                                   consent.

      Cooperation                  The Insured agrees to cooperate with the Company
                                   with respect to all Claims, and provide such
                                   assistance and information as the Company may
                                   reasonably request. Upon the Company’s request,
                                   the Insured shall submit to examination and
                                   interrogation by the Company’s representative,
                                   under oath if required, and shall attend hearings,
                                   depositions, trials and shall assist in the conduct of
                                   suits, including but not limited to effecting
                                   settlement, securing and giving evidence, obtaining
                                   the attendance of witnesses, giving written
                                   statements to the Company’s representatives and
                                   meeting with such representatives for the purpose of
                                   investigation and/or defense, all of the above
                                   without charge to the Company. The Insured
                                   further agrees not to take any action which may
                                   increase the Insured’s or the Company’s exposure
                                   under this Policy.

      Papers/Documents            The Insured shall execute all papers required and
                                  shall do everything that may be necessary to secure
                                  and preserve any rights of indemnity, contribution
                                  or apportionment which the Insured or the
                                  Company may have, including the completion of
                                  such documents as are necessary to enable the
                                  Company to bring suit in the Insured’s name, and
                                  shall provide all other assistance and cooperation
                                  which the Company may reasonably require.
      ______________________________________________________________________________
IV.   ALLOCATION OF DEFENSE COSTS

                                   If a Claim is made against an Insured for both Loss that
                                   is covered by this Policy and loss that is not covered by
                                   this Policy, the Company will pay as follows:

                                     1. One hundred percent (100%) of Defense Costs on
                                        account of such Claim; and



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                                   2. all remaining loss from such Claim shall be
                                      apportioned between covered Loss and uncovered
                                      loss based on the relative legal exposures of the
                                      parties to such matters.
                                   3. Items 1. and 2. above of this Section IV. shall not
                                      apply to any Insured for whom coverage is
                                      excluded pursuant to Section VII.
                                      REPRESENTATIONS AND SEVERABILITY.
     ______________________________________________________________________________
V.   NOTICE AND CLAIM REPORTING PROVISIONS

                                   Notice hereunder shall be given in writing to the
                                   Company. If mailed, the date of mailing of such notice
                                   shall constitute the date that such notice was given and
                                   proof of mailing shall be sufficient proof of notice.

     Written Notice of a Claim       1. As a condition precedent to exercising any right to
                                        coverage under this Policy, the Insured shall give
                                        to the Company written notice of a Claim as soon
                                        as practicable after any Chief Executive Officer,
                                        Chief Financial Officer, Chief Operating Officer,
                                        Chairperson, Executive Director, Human Resources
                                        Manager, In-House General Counsel, Managing
                                        Member or Fiduciary of any Plan becomes aware of
                                        such Claim, however:
                                        a. if the Policy expires, is cancelled or is non-
                                            renewed and no Extended Reporting Period is
                                            purchased, no later than ninety (90) days after
                                            the expiration date or the effective date of such
                                            cancellation or non-renewal; or
                                        b. if an Extended Reporting Period is purchased,
                                            no later than the last day of the Extended
                                            Reporting Period.

                                   However, if the Policy is cancelled for non-payment of
                                   premium, notice shall be provided by the Insured to the
                                   Company no later than the effective date of cancellation.

                                     2. Coverage for a Claim reported to the Company
                                        during the automatic 90 day period noted in 1. a.
                                        above shall only apply if the Claim is first made
                                        prior to the date of the Policy expiration,
                                        cancellation, or non-renewal.




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      Written Notice of a             1. If during the Policy Period, or any applicable
      Circumstance                       Extended Reporting Period, the Insured becomes
                                         aware of circumstances which could give rise to a
                                         Claim and gives written notice of such
                                         circumstances to the Company as soon as
                                         practicable during the Policy Period, or Extended
                                         Reporting Period if applicable, in which the
                                         Insured first becomes aware of such circumstances,
                                         then any Claim subsequently arising from such
                                         circumstances shall be deemed made against the
                                         Insured during the Policy Year in which such
                                         circumstances were first reported to the Company.
                                         Such subsequent Claim must be reported to the
                                         Company in accordance with this Section V.
                                         NOTICE AND CLAIM REPORTING
                                         PROVISIONS, “Written Notice of Claim” above.
                                      2. When reporting a circumstance to the Company, an
                                         Insured shall give the names of any potential
                                         claimant; a description of the specific circumstances
                                         that could give rise to a Claim; the identity of the
                                         specific Insureds allegedly involved in such
                                         circumstance; the nature of the potential damages
                                         (monetary and non-monetary); and the specifics as
                                         to how the Insureds first became aware of such
                                         circumstance.

      Interrelated Claims           More than one Claim involving the same Wrongful Act
                                    or Interrelated Wrongful Acts shall be considered as one
                                    Claim which shall be deemed made on the earlier of:

                                    1. the date on which the earliest Claim was first made;
                                       or
                                    2. the first date valid notice was given by the Insured
                                       to the Company, in accordance with applicable
                                       reporting provisions, under this Policy or under any
                                       prior policy, of any Wrongful Act or any fact,
                                       circumstance, situation, transaction or event which
                                       underlies such Claim.
      ______________________________________________________________________________
VI.   CANCELLATION OR NON-RENEWAL

      Cancellation by the Insured   This Policy may be cancelled by the Named Insured
                                    by either surrender thereof to the Company at its
                                    address stated in the Policy Declarations or by mailing
                                    to the Company written notice requesting cancellation
                                    and in either case stating when thereafter such



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                                     cancellation shall be effective. Earned premium shall
                                     be computed pro rata at the time cancellation is
                                     effected or as soon as practicable thereafter.

       Cancellation By the           The Company may cancel this Policy only in the
       Company                       event of the Insured’s failure to pay the premium
                                     when due. The Company will mail to the Named
                                     Insured, written notice stating when cancellation shall
                                     take effect. The effective date of such cancellation
                                     shall not be less than twenty (20) days after the date of
                                     mailing. Earned premium shall be computed pro rata at
                                     the time cancellation is effected or as soon as
                                     practicable thereafter.

       Non-Renewal                   In the event the Company non-renews this Policy, the
                                     Company shall mail to the Named Insured, not less
                                     than sixty (60) days prior to the end of the Policy
                                     Period, written notice of non-renewal. Such notice
                                     shall be binding on all Insureds.

       Delivery of Notice          The Company shall mail notice of cancellation or non-
                                   renewal with a certificate of mailing stating the
                                   effective date of cancellation or non-renewal which
                                   shall become the end of the Policy Period. Mailing of
                                   such notice shall be sufficient notice of cancellation or
                                   non-renewal.
       ______________________________________________________________________________
VII.   REPRESENTATIONS AND SEVERABILITY

       Representations               The Insured represents that the particulars and
                                     statements contained in the Application are true and
                                     agree that:

                                       1. those particulars and statements are the basis of
                                           this Policy and are to be considered as
                                           incorporated into and constituting a part of the
                                           Policy;
                                       2. those particulars and statements are material to the
                                           acceptance of the risk assumed by the Company;
                                           and
                                       3. the Policy is issued in reliance upon the truth of
                                           such representations.

       Severability of Application   An Application for coverage shall be construed as a
                                     separate Application for coverage by each Individual
                                     Insured. With respect to the particulars and statements



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                                     contained in the Application, no fact pertaining to or
                                     knowledge possessed by any Individual Insured shall
                                     be imputed to any other Individual Insured for the
                                     purpose of determining if coverage is available.

                                     In the event that such Application contains any
                                     misrepresentations which materially affects either the
                                     acceptance of the risk or the hazard assumed by the
                                     Company under this Policy, then no coverage shall be
                                     afforded for any Claim based upon, arising out of,
                                     related to or in consequence of any such
                                     misrepresentation with respect to:

                                      1. any Individual Insured who knew of such
                                         misrepresentations or knew of the facts or
                                         circumstances relating to such misrepresentations,
                                         or any Organization to the extent it indemnifies
                                         any such Individual Insured. Such knowledge
                                         possessed by such Individual Insured shall not
                                         be imputed to any other Individual Insured; or
                                      2. any Organization if any past or present Chief
                                         Executive Officer, Chief Financial Officer, Chief
                                         Operating Officer, Chairperson, Executive
                                         Director, Human Resources Manager, In-House
                                         General Counsel, Managing Member or Fiduciary
                                         of any Plan or any equivalent position of the
                                         Named Insured, or the signer of the Application,
                                         knew of such misrepresentations or knew of the
                                         facts or circumstances relating to such
                                         misrepresentations.
        ______________________________________________________________________________
VIII.   CHANGES IN EXPOSURE

        Creation, Acquisition of       1. If, after the effective date of this Policy:
        or Merger with Another            a. the Organization creates, acquires,
        Entity                                 consolidates or merges with another nonprofit
                                               entity incorporated under the laws of a
                                               jurisdiction within the territorial United
                                               States, (hereafter referred to as “other entity”)
                                               such that the Organization is the surviving
                                               entity, and if as a result of such creation,
                                               acquisition, consolidation or merger, the other
                                               entity becomes a Subsidiary of the
                                               Organization, then coverage shall be
                                               provided for the other entity as an Insured
                                               solely for Wrongful Acts committed or



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                                      allegedly committed after the effective date of
                                      such creation, acquisition, consolidation or
                                      merger. The Insured shall disclose full
                                      particulars of such a change to the Company
                                      as soon as practicable but not later than the
                                      expiration date of the Policy Year, or
                                      effective date of cancellation or non-renewal
                                      of this Policy.
                                   b. However, if at the time of an event described
                                      in Paragraph 1, a., above:
                                       i. the assets of the other entity exceed thirty
                                           five percent (35%) of the total assets of
                                           the Organization as reflected in the
                                           Organization’s most recent annual
                                           financial statements; or
                                      ii. if the Employment Practices Liability
                                           Coverage Part is attached to this Policy,
                                           the total number of employees of the
                                           other entity exceeds thirty five (35%) of
                                           the total number of Employees of the
                                           Organization immediately prior to such
                                           event, then:

                                             the Named Insured shall provide to the
                                             Company written notice of such
                                             creation, acquisition, consolidation or
                                             merger, containing full details thereof, as
                                             soon as practicable but within sixty (60)
                                             days of such event. The Company, at its
                                            sole discretion, may require additional
                                            premium and may alter the terms,
                                            conditions or limitations of coverage.
                                            The Company reserves the right to
                                            refuse any extension of coverage to such
                                            entity.
                               2. If, after the effective date of this Policy, the
                                  Organization creates, acquires, consolidates or
                                  merges with a for-profit entity, or any entity
                                  incorporated outside of the territorial United
                                  States, such that the Organization is the
                                  surviving entity, and if as a result of such
                                  creation, acquisition, consolidation or merger,
                                  such for-profit or foreign entity becomes a
                                  Subsidiary of the Organization, then:

                                   the Named Insured shall provide to the



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                                   Company written notice of such creation,
                                   acquisition, consolidation or merger, containing
                                   full details thereof, as soon as practicable but
                                   within sixty (60) days of such event. The
                                   Company, at its sole discretion, may require
                                   additional premium and may alter the terms,
                                   conditions or limitations of coverage. The
                                   Company reserves the right to refuse any
                                   extension of coverage to such entity.

Cessation of Subsidiaries    If during the Policy Period any Subsidiary ceases to be
                             a Subsidiary, then coverage under this Policy shall
                             continue for such Subsidiary and its Individual
                             Insureds until the expiration of this Policy or the last
                             Policy in an uninterrupted series of policies issued by
                             the Company, but solely for Claims arising out of
                             Wrongful Acts committed or allegedly committed by
                             such Subsidiary or its Individual Insureds while such
                             Subsidiary was a Subsidiary and prior to the effective
                             date of such cessation. There shall be no coverage for
                             Claims arising out of actual or alleged Wrongful Acts
                             occurring on or after the effective date of cessation.

Takeover of the              In the event of a Takeover of the Named Insured:
Named Insured
                               1. coverage under this Policy shall continue until
                                  the earlier of:
                                  a. the expiration of the Policy Year; or
                                  b. if the Policy is cancelled or non-renewed, the
                                      effective date of cancellation or non-renewal;

                                       but only with respect to Claims arising out of
                                       Wrongful Acts that occurred or allegedly
                                       occurred prior to the effective date of the
                                       Takeover. There shall be no coverage for
                                       Claims arising out of actual or alleged
                                       Wrongful Acts occurring on or after the date
                                       of Takeover;

                               2. the Named Insured shall give the Company
                                  written notice of the Takeover as soon as
                                  practicable, but not later than sixty (60) days after
                                  the effective date of the Takeover; and
                               3. the premium for the Policy Year in which the
                                  Takeover occurred shall be deemed to be fully


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                                   earned. The Named Insured shall have the right
                                   to purchase an Extended Reporting Period,
                                   subject to Section II. EXTENDED REPORTING
                                   PERIOD herein, to report Claims arising out of
                                   Wrongful Acts occurring prior to the effective
                                   date of any Takeover.

Merger, Sale, Transfer or    If after the inception date of the Fiduciary Liability
Termination of a Plan        Coverage Part, or the date the Fiduciary Liability
                             Coverage Endorsement is added to this Policy:

                               1. the sponsorship of a Plan is transferred so that an
                                  Organization is no longer the sole employer
                                  sponsor of such Plan;
                               2. a Plan is merged with another plan for which
                                  coverage is not afforded under the Fiduciary
                                  Liability Coverage Part;
                               3. a Plan is terminated or sold; or
                               4. the Pension Benefit Guaranty Corporation
                                  (PBGC) becomes the Trustee of a Plan;

                               then:

                                   a. in the case of paragraphs 1., 2. and 3. above,
                                      the Fiduciary Liability Coverage Part or the
                                      Fiduciary Liability Coverage Endorsement, as
                                      applicable, shall continue to apply to such
                                      transferred, merged, terminated or sold Plan,
                                      but solely for Claims based upon or arising
                                      out of Wrongful Acts that occurred or
                                      allegedly occurred prior to the date of such
                                      transfer, merger, termination or sale. There
                                      shall be no coverage for Claims arising out of
                                      actual or alleged Wrongful Acts occurring on
                                      or after the date of merger, transfer,
                                      termination or sale of any Plan as described
                                      in paragraphs 1., 2. and 3. above; or
                                   b. in the case of paragraph 4. above, the
                                      Fiduciary Liability Coverage Part or the
                                      Fiduciary Liability Coverage Endorsement
                                      shall continue to apply to such Plan for those
                                      who were Insureds at the time the PBGC
                                      became the Trustee of such Plan but solely
                                      for Claims based upon or arising out of
                                      Wrongful Acts that occurred or allegedly
                                      occurred prior to the date the PBGC became



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                                             the Trustee of such Plan. There shall be no
                                             coverage for Claims arising out of actual or
                                             alleged Wrongful Acts occurring on or after
                                             the date the PBGC becomes the Trustee of
                                             any Plan.

      Cancellation of the Policy  If the Named Insured requests cancellation of this
                                  Policy as a result of a “Creation, Acquisition of or
                                  Merger with Another Entity”, “Cessation of
                                  Subsidiaries”, or “Takeover of the Named Insured”, the
                                  Company shall compute earned premium on a pro rata
                                  basis and return any unearned premium to such entity as
                                  of the effective date of such cancellation as long as
                                  notice of the event is provided to the Company as soon
                                  as practicable but not later than sixty (60) days after
                                  such event, together with such information as the
                                  Company may require.
      ______________________________________________________________________________
IX.   LIMITS OF LIABILITY

      “Each Claim”                 The “Each Claim” Limit of Liability shown on the
                                   Policy Declarations is the Company’s maximum
                                   liability for Loss for each Claim to which the applicable
                                   Coverage Part applies, during each Policy Year.

      “In the Aggregate”           The “In the Aggregate” Limit of Liability shown on the
                                   Policy Declarations is the Company’s maximum
                                   liability for Loss for all Claims to which the applicable
                                   Coverage Part applies, during each Policy Year.

      Policy Year Limits           The Limits of Liability for any Policy Year may not be
                                   aggregated or transferred, in whole or in part, so as to
                                   provide any additional coverage with respect to Claims
                                   first made or deemed made, as provided in Section V.
                                   NOTICE AND CLAIM REPORTING PROVISIONS of
                                   these General Terms and Conditions during any other
                                   Policy Year. If the applicable Limits of Liability for
                                   any Policy Year are exhausted, the Company’s
                                   obligation for that Policy Year shall be deemed
                                   completely fulfilled and extinguished.

      Extended Reporting           The Extended Reporting Period will not provide a new,
      Period Limits                separate or additional Limit of Liability. The remainder
                                   of the Limit of Liability applicable to the Policy Year in
                                   effect as of the date of expiration, cancellation, or non-
                                   renewal is the maximum Limit of Liability for all



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                                   Claims reported during the Extended Reporting Period.

     Defense Costs                 Defense Costs shall be in addition to the Limits of
                                   Liability for each Coverage Part purchased as shown
                                   on the Policy Declarations, unless as otherwise provided
                                   within that Coverage Part or by endorsement.

     Interrelated Claims         More than one Claim involving the same Wrongful Act
                                 or Interrelated Wrongful Acts shall be considered as
                                 one Claim pursuant to Section V. NOTICE AND
                                 CLAIM REPORTING PROVISIONS, “Interrelated
                                 Claims” and shall be subject to the Limit of Liability in
                                 effect when the Claim was first made.
     ______________________________________________________________________________
X.   RETENTIONS AND PRESUMPTIVE INDEMNIFICATION

     Retentions                    Retentions set forth in the Policy Declarations for each
                                   Coverage Part shall apply per Claim per Policy Year
                                   under each respective Coverage Part.

                                   If more than one Retention applies to any one Claim
                                   then each applicable Retention shall be applied to the
                                   applicable part of such Claim, but the sum of such
                                   Retentions shall not exceed the highest of such
                                   applicable Retentions.

                                   Claims shall be subject to the Retention applicable to
                                   the Policy Year during which the Claims are first made
                                   as provided in Section V. NOTICE AND CLAIM
                                   REPORTING PROVISIONS.

                                   Except as otherwise provided by Section VII. TIMELY
                                   NOTICE AND RESOLUTION INCENTIVE of the
                                   Directors and Officers Coverage Part:

                                     1. the Company shall be liable to pay only Loss and
                                        Defense Costs in excess of the applicable
                                        Retention for the Coverage Part to which the
                                        Claim applies;
                                     2. the Company shall have no obligation to pay any
                                        part or all of such Retention on the Insured’s
                                        behalf; and
                                     3. if the Company, at its sole discretion, elects to
                                        pay any part of or all of such Retention, the
                                        Insured agrees to repay such amounts to the
                                        Company upon demand.



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      Presumptive Indemnification   Regardless of whether Loss or Defense Costs resulting
                                    from any Claim against an Individual Insured is
                                    actually indemnified by the Organization, the
                                    applicable Retention set forth in the Policy Declarations
                                    shall apply to any Loss and Defense Costs if
                                    indemnification of the Individual Insured by the
                                    Organization is legally permissible. The certificate of
                                    incorporation, charter, articles of association or other
                                    organizational documents of the Organization,
                                    including by-laws and resolutions, will be deemed to
                                    have been adopted or amended to provide
                                    indemnification to the Individual Insured to the fullest
                                    extent permitted by law.

                                    However, if an Individual Insured is not indemnified
                                    for Loss or Defense Costs solely by reason of:

                                      1. Financial Impairment; or
                                      2. a good faith determination by the Organization
                                         that such indemnification is not permitted by
                                         common or statutory law; then

                                  an Individual Insured’s Retention for this Coverage
                                  Part shall be amended to $0.
      ______________________________________________________________________________
XI.   SPOUSAL AND DOMESTIC PARTNER EXTENSION

                                    If a Claim against an Individual Insured includes a
                                    Claim against the lawful spouse or Domestic Partner
                                    of such Individual Insured solely by reason of:

                                      1. such spousal or Domestic Partner status; or
                                      2. such spouse’s or Domestic Partner’s ownership
                                         interest in property or assets that are sought as
                                         recovery for Wrongful Acts; then

                                    any Loss which such spouse or Domestic Partner
                                    becomes legally obligated to pay on account of such
                                    Claim shall be deemed Loss which the Individual
                                    Insured becomes legally obligated to pay as a result of
                                    the Claim.

                                    This extension of coverage shall not apply to the extent a
                                    Claim alleges any Wrongful Act, error, omission,
                                    misstatement, misleading statement or neglect or breach



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                                    of duties by such spouse or Domestic Partner.
        ______________________________________________________________________________
XII.    SUBROGATION

                                     In the event of payment under this Policy, the Company
                                     shall be subrogated to the Insureds’ rights of recovery.
                                     The Insured shall do everything necessary to secure
                                     such rights, including the execution of such documents
                                     necessary to enable the Company to effectively bring
                                     suit in the name of any Company.

                                     In no event, however, shall the Company exercise its
                                     rights to subrogation against an Individual Insured
                                     under this Policy unless such Individual Insured:

                                       1. has been convicted of a deliberate criminal act; or
                                       2. has been determined by a final adjudication
                                          adverse to the Individual Insured to have
                                          committed a deliberate fraudulent act, or to have
                                          obtained any profit, advantage or remuneration to
                                          which such Individual Insured was not legally
                                          entitled.

                                    In the event the Company shall for any reason pay
                                    indemnifiable Loss on behalf of an Individual Insured,
                                    the Company shall have the contractual right hereunder
                                    to recover from the Organization or any Subsidiary the
                                    amount of such Loss equal to the amount of the
                                    Retention not satisfied by the Organization or any
                                    Subsidiary and shall be subrogated to rights of the
                                    Individual Insureds hereunder.
        ______________________________________________________________________________
XIII.   CHANGES

                                 Notice to any agent or knowledge by any agent shall not
                                 affect a waiver or change in any part of this Policy or
                                 stop the Company from asserting any right under the
                                 terms of this Policy, nor shall the terms of this Policy be
                                 waived or changed except by an endorsement, issued by
                                 the Company to form a part of this Policy.
     ______________________________________________________________________________
XIV. AUTHORIZATION CLAUSE AND NOTICES

                                     By acceptance of this Policy, the Insured agrees that the
                                     Named Insured shall act on behalf of all Insureds with
                                     respect to:



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                                       1. the payment of premiums or the receipt of any
                                          return premiums that may become due under the
                                          Policy;
                                       2. the cancellation or non-renewal of this Policy;
                                       3. the effecting of any changes to the Policy or
                                          purchasing of an Extended Reporting Period; or
                                       4. the giving and receiving of all notices and
                                          correspondence.

                                  Any notice given to the Named Insured by the
                                  Company pursuant to Section VI. CANCELLATION
                                  OR NON-RENEWAL shall be deemed to be notice to
                                  all Insureds.
      ______________________________________________________________________________

XV.   ASSIGNMENT

                                 Assignment of interest under this Policy shall not bind
                                 the Company until the Company’s consent is endorsed
                                 hereon.
     ______________________________________________________________________________
XVI. OTHER INSURANCE

                                     This Policy is excess of other valid and collectable
                                     insurance, unless such other insurance is specifically
                                     written to be in excess of this Policy. For purposes of
                                     this provision, “other valid and collectable insurance”
                                     means insurance provided by an entity or organization
                                     other than the Company.

                                  When it is determined that both this insurance and other
                                  insurance or self-insurance apply to any Claim on the
                                  same basis, whether primary, excess or contingent, the
                                  Company shall not be liable under this Policy for a
                                  greater proportion of the Loss and Defense Costs than
                                  the applicable Limit of Liability under the Policy for
                                  such Loss and Defense Costs bears to the total
                                  applicable Limit of Liability of all valid and collectible
                                  insurance against such Claims.
      ______________________________________________________________________________
XVII. TERMS OF POLICY
      CONFORMED TO
      STATUTE

                                     Terms of this Policy which are in conflict with the
                                     statutes of the state or territory wherein this Policy is



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                                   issued are hereby amended to conform to such statutes.
       ______________________________________________________________________________
XVIII. ACTION AGAINST THE COMPANY

       Compliance                     No action shall lie against the Company unless, as a condition
                                      precedent thereto, there has been full compliance with all of
                                      the terms of this Policy, and until the amount of the Insured’s
                                      obligation to pay shall have been finally determined either by
                                      judgment against the Insured after actual trial or by the
                                      Insured’s written agreement, the claimant or the claimant’s
                                      legal representative, and the Company.

       Rights to Recover         Any person or the legal representatives thereof who has
                                 secured such judgment or written agreement shall thereafter be
                                 entitled to recover under this Policy to the extent of the
                                 insurance afforded by this Policy. No person or entity shall
                                 have any right under this Policy to join the Company as a
                                 party to any action against the Insured to determine the
                                 Insured’s liability, nor shall the Company be impleaded by
                                 the Insured or the Insured’s legal representatives.
                                 Bankruptcy or insolvency of the Insured or the Insured’s
                                 successors in interest shall not relieve the Company of its
                                 obligations hereunder.
     ______________________________________________________________________________
XIX. POLICY TERRITORY

                                  This Policy shall apply worldwide.
      ______________________________________________________________________________
XX.   COORDINATION OF COVERAGE

                                 Subject always to the applicable Limit of Liability, should two
                                 or more Coverage Parts apply to the same Claim, the
                                 Company will not pay more than the actual Loss incurred by
                                 the Insureds.
     ______________________________________________________________________________
XXI. ACCEPTANCE

                                  This Policy embodies all agreements existing between the
                                  parties hereunder or any of their agents relating to this
                                  insurance.
      ______________________________________________________________________________
XXII. LIBERALIZATION

                                      If within forty-five (45) days of binding this Policy, the
                                      Company broadens coverage under any Coverage Part
                                      or the General Terms & Conditions attached to this


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                                    Policy, and;

                                      1. such broadened coverage applies to policies in the
                                         state or territory in which this Policy is written;
                                      2. the effective date of the policies which are to
                                         receive the broadened coverage is after the
                                         effective date of this Policy; and
                                      3. there is no additional premium charged for such
                                         broadened coverage;

                                  then the Company shall apply the broadened coverage
                                  to this Policy as applicable for no additional premium,
                                  but only for a Wrongful Act which first occurs after the
                                  effective date of such broadened coverage.
____________________________________________________________________________________




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                    This endorsement modifies insurance provided under the following:

                   NON PROFIT MANAGEMENT LIABILITY POLICY

             ILLINOIS STATE AMENDATORY ENDORSEMENT
To be attached to and form a part of all Non Profit Management Liability Insurance Policies
written in Illinois.

It is hereby agreed that the following sections are amended and supersede any provision to the
contrary:

Throughout this Policy the term “spouse” is replaced by the following:

   Spouse or party who has entered into a civil union with an Individual Insured as recognized
   under Illinois law.

The definition of Defense Costs in all Coverage Parts is amended by the addition of the
following:

                                         Defense Costs does not mean salaries of the employees,
                                         officers, or salaries of staff attorneys of the Company or
                                         Named Insured.

The definition of Loss in all purchased Coverage Parts is amended by the addition of the
following:

                                         Loss does not include the multiplied portion of any
                                         multiple damage award. This definition does not exclude
                                         punitive damages, which are only payable due to
                                         vicarious liability in the State of Illinois.


The Directors and Officers Coverage Part, Section IV. and the Fiduciary Liability Coverage
Part Section III., EXCLUSIONS, “Pollution” is amended by the addition of the following:

                                         This exclusion does not apply to damage caused by heat,
                                         smoke, or fumes from a hostile fire.

The Directors and Officers Coverage Part, Section III. and the Fiduciary Liability Coverage
Part Section II., DEFINITIONS, “Pollutants” are deleted and replaced by the following:

Pollutants                               means any solid, liquid, gaseous, bacterial, fungal,
                                         thermal or other substance, smoke, vapor, soot, fumes,
                                         acids, alkalis, chemicals, toxic materials, ‘Volatile
                                         Organic Compound’, ‘Organic Pathogen’, ‘Silica’,



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                                    asbestos, lead and gases therefrom, radon, combustion
                                    byproducts, noise and ‘Waste’. Specific examples
                                    include, but are not limited to diesel, kerosene, and other
                                    fuel oils, carbon monoxide, and other exhaust gases,
                                    mineral spirits and other solvents, tetrachloroethylene,
                                    perchloroethylene (PERC), trichloroethylene (TCE),
                                    methylene chloroform, and other dry cleaning
                                    chemicals, chlorofluorocarbons, chlorinated
                                    hydrocarbons, adhesives, pesticides, insecticides, and all
                                    substances specifically listed, identified, or described by
                                    one or more of the following references:

                                        1. Comprehensive Environmental Response,
                                           Compensation, and Liability Act (CERCLA)
                                           Priority List Hazardous Substances (1997 and all
                                           subsequent editions); or
                                        2. Agency for Toxic Substances And Disease
                                           Registry ToxFAQs™; or
                                        3. U.S. Environmental Protection Agency EMCI
                                           Chemical References Complete Index.

                                    For the purposes of this definition;

                                        1. ‘Volatile Organic Compound’ means any
                                           compound which discharges organic gases as it
                                           decomposes or evaporates, examples of which
                                           include but are not limited to formaldehyde,
                                           pesticides, adhesives, construction materials
                                           made with organic chemicals, solvents, paint
                                           varnish and cleaning products.
                                        2. ‘Organic Pathogen’ means any organic irritant or
                                           contaminant, including but not limited to mold,
                                           fungus, bacteria or virus, including but not
                                           limited to their byproduct such as mycotoxin,
                                           mildew, or biogenic aerosol.
                                        3. ‘Silica’ means silica in any form and any of its
                                           derivatives, including but not limited to silica
                                           dust, silicon dioxide, crystalline silica, quartz, or
                                           non-crystalline (amorphous) silica.
                                        4. ‘Waste’ means any property intended to be
                                           disposed, recycled, reused or reclaimed by the
                                           owner or user thereof.

The Directors and Officers Coverage Part, Section III.,DEFINITIONS, Loss, 3. is deleted and
replaced by the following:




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                                        3. punitive or exemplary damages, except as a result
                                           of the Insured’s own misconduct, to the extent
                                           such damages are insurable under applicable law,
                                           statue or regulation;

The Employment Practices Coverage Part, Section II.,DEFINITIONS, Loss, 5. is deleted and
replaced by the following:

                                        5. punitive or exemplary damages, except as a result
                                           of the Insured’s own misconduct, to the extent
                                           such damages are insurable under applicable law,
                                           statue or regulation;

The Fiduciary Liability Coverage Part Section II.,DEFINITIONS, Loss, 1.d, is deleted and
replaced by the following:

                                            d. punitive or exemplary damages, except as a
                                               result of the Insured’s own misconduct, to the
                                               extent such damages are insurable under
                                               applicable law, statue or regulation;

The General Terms and Conditions, Section II. EXTENDED REPORTING PERIOD, “Right to
Purchase” is deleted and replaced by the following:

Right to Purchase                   If the Policy expires, is cancelled or not renewed for any
                                    reason then the Named Insured shall have the right to
                                    purchase an Extended Reporting Period to report to the
                                    Company, as soon as practicable prior to the expiration
                                    date of the purchased Extended Reporting Period, any
                                    Claim or circumstance that could be expected to give
                                    rise to a Claims being first made against an Insured
                                    during the twelve (12) months, twenty-four (24) months
                                    or thirty-six (36) months after the expiration date or
                                    effective date of such cancellation or non-renewal
                                    (depending upon the Extended Reporting Period
                                    purchased).

                                    An Extended Reporting Period shall only apply to
                                    Claims arising from a Wrongful Act which was
                                    actually or allegedly committed before the date of
                                    expiration, cancellation or non-renewal of this Policy, or
                                    prior to the effective date of any Takeover. For the
                                    purpose of this clause, the offer of renewal terms and
                                    conditions or premiums by the Company different from
                                    those in effect prior to renewal shall not constitute a
                                    refusal to renew.



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The General Terms and Conditions, Section VI. CANCELLATION OR NON-RENEWAL, is
amended by the addition of the following:

                                        Notices of cancellation and non-renewal will be mailed
                                        to the Insured, and the agent or broker of record at the
                                        last address known to the Company and any mortgagee
                                        or lienholder, if known.

The General Terms and Conditions, Section VI. CANCELLATION OR NON-RENEWAL,
“Delivery of Notice” is deleted and replaced by the following:

Delivery of Notice                     The Company shall mail notice of cancellation or non-
                                       renewal with a certificate of mailing stating the effective
                                       date of cancellation or non-renewal and the specific
                                       reason(s) for cancellation or non-renewal, which shall
                                       become the end of the Policy Period. Proof of mailing
                                       shall be sufficient proof of notice.



The General Terms and Conditions, Section XVI. OTHER INSURANCE is deleted and
replaced by the following:

                                        If any Loss resulting from any Claim is insured under any
                                        other valid and collectible insurance policy, other than a
                                        policy that is issued specifically excess of the insurance
                                        provided by this Policy, this Policy shall share in the
                                        proportion that the limit of the Policy bears to the total of
                                        the limits of all valid and collectible insurance policies
                                        covering the same Loss.



NOTHING HEREIN CONTAINED SHALL VARY, ALTER, WAIVE, OR EXTEND ANY OF
THE TERM, PROVISIONS, REPRESENTATIONS, CONDITIONS OR AGREEMENTS OF
THE POLICY OTHER THAN AS STATED ABOVE.



All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




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                                                          INSURANCE


                                                                  POLICY

   UNITED STATES LIABILITY
     INSURANCE GROUP
                                                   This policy jacket together with the policy declarations,
                 A STOCK COMPANY
                                                    coverage forms and endorsements, if any, complete
            A BERKSHIRE HATHAWAY COMPANY                                  this policy.

               1190 Devon Park Drive                 The enclosed declarations designates the issuing
              Wayne, PA 19087-2191                                     company.
             888-523-5545 – USLI.COM




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                                        INSURANCE POLICY


                                Read your policy carefully!




 In Witness Whereof, the company has caused this Policy to be executed and attested. Where required by law,
 this Policy shall not be valid unless countersigned by a duly authorized representative of the company.

 Secretary                                                  President




Jacket (07-19)                                                                                     Page 2 of 2
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                      EXHIBIT 2
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STJBPOENA DUCES TECUM BEFORE                           .II]RY                                                                         I 158

                                            UNITED STATES OF AMERIGA
STATE OF ILLINOIS                                                                                                                         DU PAGE
                                IN THE NAME OF THE PEOPLE OF THE STATE OF I
                            IN THE GIRGUIT GOURT OF THE EIGHTEENTH JUDIGIAL
  THE MATTER OF A
 RAND JURY INVESTIGATION
                                                                                Case Number

 The People of the State of lllinois, to All Sheriffs of the State of Illinois, to All Coroners of                             GREETINGS

 We command yOu tO SUmmOn The Dupage Graue Mill Corporation, Inc.                    The DuPage Graue Mill Corporation, Inc.
                                      5716 Fox Gate Lane, Hinsdale, IL 60521
                                                                                     8617 Thistlewood Ct, Darien, IL 60561
                                      Attention To: Bonnie Sartore, president        Attention To: Garry Bartecki, Treasurer/Agent
                                      bonniesartore@sbcglobal.net                    Email : gb artecki@comcast. net
 if found, pe$onally to be and appear before the GRAND JURY OF DU PAGE COUNTY' ILLINOIS, in session in
                                 -'-J
        3010, 505 North County Farm Rqad, the City-of-Whg)aton, DuPage County,lllinois on
                                               February 28, 2023                                                                     9:30 a.
        V,
                                                                                                         at                                    M.
 and produce at the time and place aforesaid and to bring, to be used as evidence, certain instruments of writing and
 purporting to be

                                  PLEASE PROVIDE YOUR BUSINESS AFFIDAVIT
                                                   See Attached Exhibits

   POENA MAY BE COMPLIED WITH BY SUBMITTING SAID RECORDS TO THE ATTENTION OF: DUPAGE COUNTY STATE'S ATTORNEY'S
      s03 N. COUNTy FARM ROAD, WHEATON, TLLTNOTS 60187, cOntrOl #43549, PRIOR TO THE GRAND JURY COURT DATE
                                                                                                           BY
       US MAIL OR PERSONALLY PRESENTING SAID RECORDS TO THE GRAND JURY ON TFIE DAT9 AND TIME LISTED ABOVE.




 then, and there to testify in a matter now pending before the GRAND JURY concerning those things of which you may
 have knowledge and the import of such instruments of writing, and this you shall not omit.
                                                                WITNESS: CANDICE ADAMS, Clerk of the Eighteenth
 YOUR FAILURE TO APPEAR IN RESPONSE                                             Judicial Circuit Courl, and the seal thereof, Wheaton,
 TO THIS SUBPOENA WILL SUBJECT YOU                                              Illinois                         January 20,2023
 TO PTJNISHMENT FOR CONTEMPT OF
 COURT.
                                                                                                               Date

                NOTICE TO WITNESS
 Any questions regarding your knowledge of the                                                     (^u Ar^''e-
 subject matter or testimony in the case should be                                      Clerk of the Eighteenth Judicial Circuit
 directed to the States Attorney or your attomey.


 saoG ra ndJ ury@ Du Pageco.org
                                                                          controt N". 43549
                                                       All Assistant State's Attorney's personnel and staff.
 DuPage Attorney No. 50000                             Det. John Alipour-DuPage Co. Forest Preserve FPPC2300004
 State's Attorney of DuPage County
 503 N County Farm Road Wheaton, Illinois 60187
 630-407-8000


                               CANDICE ADAMS, CLERK OF THE 18th JUDICIAL CIRCUIT COURT O
                                              WHEATON, ILLINOIS 60187 -07 07
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            Exhibit A - The DuPage Graue Mill Corporation, lnc.
                 5716 Fox Gate Lane, Hinsdale, lllinois, 60521

DuPage Graue Mill Corporation, lnc. shall provide the following documents associated
with DuPage Graue Mill Corporation, lnc. and its Endowment for the time period of
January 1,2019, through Present:

    . A tist of att properties removed from the Graue Mill House and Mill.
    . The name and address (exacf tocation) where the Graue Mill House and Mill
        property are being stored.
    . A list of attfuture confirmed events planned by the Corporation including contact
        information for paftner organization, Copies of all communications, rental
        agreements, applications, deposifs for each event'
    .   Copies of allfinancial and accounting documents and statements including;
          o       All accounting ledgers in a detailed format
          o      All payroll records
          o      Att bank account(s) and statement(s) associafed with, the DuPage Graue
                 Mitt Corporation from January 1, 2019, to present.
    .   Copies of the all Endowment(s) records, establishing the endowment, bank
        account(s) and statement(s) from January 1, 2019, through the present.
    .   Coples of atl Financial Statements from the years, 2020, 2021 and 2022
    .   Copies of att Annual Report for the years 2019, 2020, 2021 and 2022
    .   Detailed records of original entry that substantiate cash receipts, expenses,
        reimbursements to employees and/or Board Members for the years 2019, 2020,
        2021 and 2022
    .   Federal Tax returns for the years 2019, 2020, 2021 and 2022
    .   Sfafe of tllinois tax returns for the years 2019, 2020, 2021 and 2022
    .    AII IRS Forms and/or back-up withholding documents for the years 2019, 2020,
        2021 and 2022.
    .     All meeting minutes from board meetings and actions executed by the DuPage
         G raue Mill CorPoration.
    .    The bylaws of the Corporation and all subsequent corporations that were
          estabiished to serue or supplement the DuPage Graue Mill Corporation, The
         Graue Mill, Graue House, and/or parcel(s) of the Graue facilities owned by the
          Forest Preserue District of DuPage County that have received funding from the
         DuPage Graue Mitt Corporation greater than five thousand dollars ($5,000.00).
    .     Att financial records, accounting documents, bank statements, financial report
         filings, federal tax returns, federal tax documents, state of lllinois tax returns,
         sfafe tax returns, annual report filings, financial audit reports, detailed records of
         revenues, cash receipts, expenses, payroll, and any other acceptance of cash,
          cash equivalents, donated property, and/or other assefs of the Foundation.
    .    The detaited tist of "Fine Art" required by the DuPage Graue Mill Corporation
         Insurance provider and all other associated /isfings provided to the insurance
         provider.
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                                           AFFIDAVIT

    LI,                                    am a duly authorized custodian of records of
                                 with authority to execute this affidavit and cerlify to the
       authenticity and accuracy of the records produced with this affidavit pertaining to
       Subpoena Duces Tecum Control No.

    2. I hereby certify that the documents submitted herewith are the original records or duplicates
       of original records in our possession and control that are specified in the aforementioned
       Subpoena Duces Tecum.

    3. I further certiff that the documents submitted herewith are computer-generated records
       created with standard computer equipment and software using standard processes
       customarily used to generate such documents. The computer equipment used to generate
       the document generates accurate records when used appropriately. The computer and
       software were functioning properly and used appropriately.

   4. The computer system and software used to generate the documents submitted are regularly
       checked and tested for reliability and its access is restricted to trained personnel who had
       been authorizedto use it.

   5. The source of information contained in the submitted documents and the method of
       recording are used in the ordinary course of regularly conducted business.

   6. The records attached to the response to the Subpoena Duces Tecum were made and kept in
       the course of regularly conducted business activity, and it *ut"th" regular practice of this
       company's regularly conducted business activity to make such records.

   l. The records were made at or near the time of the occulrence of the matter set forth by, or
       from information transmitted by, a person with knowledge of those matters.

I hereby declare under penalty of perjury that the foregoing is true and correct.




Subscribed and sworn to before me
This          of               2023

     --day
Notary Public
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                                   ROBERT B.BERLIN
                                   STATE'S ATTORNEY
                                  DU PAGE COUNTY, ILLINOIS



DATE:                                       Gontrol #

Fax# / Note:


COMPANY NAME:           2'         Attention:
                                                                             C


  When responding to the Grand Jury Subpoena: in regard to complying of the
   requested information, future communications/ questions and or billing:

  1. Please reference our 5 digit CONTROL #                  located at the bottom of the
     Subpoena & include a copy of the Grand Jury Subpoena

   PLEASE NOTE OUR NEW EMAIL ADDRESS: saoGrandJury@dupageco.org

     All records / responses to the information being requested by the Grand Jury can
     be mailed to: DuPage County States'Attorney
                        503 N. County Farm Rd
                       Wheaton, lL 60187
     ATTENTION: Elizabeth Giesel or Rachel Sedlacek GJ# (insert control # here)

     We prefer your responses/records to be Emailed or send your questions to:

                           PLEASE NOTE NEW EMAIL ADDRESS
                              saoGra dJurvlOdupaqeco .oro

                         Phone: 630-407-8090 Fax: 630-407'8101
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                      EXHIBIT 3
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                                                             2023MR000062



                                                      Candice Adams
                                                      e-filed in the 18th Judicial Circuit Court
                                                      DuPage County
                                                      ENVELOPE: 21295585
                                                      2023MR000062
                                                      FILEDATE: 2/1/2023 3:35 PM
                                                      Date Submitted: 2/1/2023 3:35 PM
                                                      Date Accepted: 2/2/2023 9:33 AM
                                                      MM
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                                                                   PageID     #:99
                                                                          Adams
                                                                    e-filed in the 18th Judicial Circuit Court
                                                                    DuPage County
                                        2023MR000062                ENVELOPE: 21295585
                                                                    2023MR000062
                                                                    FILEDATE: 2/1/2023 3:35 PM
                                                                    Date Submitted: 2/1/2023 3:35 PM
                                                                    Date Accepted: 2/2/2023 9:33 AM
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                                                                    Adams
                                                             e-filed in the 18th Judicial Circuit Court
                               2023MR000062                  DuPage County
                                                             ENVELOPE: 21295585
                                                             2023MR000062
                                                             FILEDATE: 2/1/2023 3:35 PM
                                                             Date Submitted: 2/1/2023 3:35 PM
                                                             Date Accepted: 2/2/2023 9:33 AM
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